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1                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
2

3       UNITED STATES OF AMERICA,
                                                              Criminal Action
4                     Plaintiff,                              No. 1: 21-399
5               vs.                                           Washington, DC
                                                              March 7, 2024
6       ROMAN STERLINGOV,
                                                              9:22 a.m.
7                   Defendant.
        __________________________/                           MORNING PROCEEDINGS
8

9                             TRANSCRIPT OF JURY TRIAL
                       BEFORE THE HONORABLE RANDOLPH D. MOSS
10                          UNITED STATES DISTRICT JUDGE
11

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1                               P R O C E E D I N G S
2                   THE COURTROOM DEPUTY: Criminal case 21-399, United
3       States of America versus Roman Sterlingov.
4                   Would counsel please approach the podium and state
5       their name for the record starting with government counsel.
6                   MR. BROWN: Good morning, Your Honor. AUSA Chris
7       brown for the government. With me at counsel table are C.
8       Alden Pelker and Jeff Pearlman.
9                   THE COURT: Good morning.
10                  MR. EKELAND: Good morning, Your Honor. Tor Ekeland
11      for Defendant Roman Sterlingov, who is present in court. And
12      joining me at counsel table is Michael Hassard.
13                  THE COURT: Good morning to you as well.
14                  So we are here to continue the charging conference.
15      I have four things on my agenda and you may all have additional
16      items that you would like to raise now as well. But I need to
17      hear more from you and consider what to do about the willful
18      blindness instruction. I need to see what to do about the --
19      instruct the jury that they need to be unanimous with respect
20      to which or both of the two objects of the conspiracy have been
21      proved. I want your views on, if we do get to the forfeiture
22      proceeding, how you intend that to work. And, finally, any
23      comments that you may have on the proposed verdict form.
24                  So why don't we start with the couple of more
25      substantial issues. And I -- I know the government was going
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1       to look overnight at the question of whether in its view
2       unanimity was required with respect to the objects of the
3       conspiracy, which is the way I drafted the instructions.
4                   Mr. Brown.
5                   MR. BROWN: Yes, Your Honor. We did do some
6       additional research on that. And we are satisfied that it does
7       make sense to have a special unanimity requirement.
8                   THE COURT: So I probably should add that to the
9       special unanimity charge, which was on page 69 then.
10                  MR. BROWN: Yes, Your Honor. I think that would be
11      appropriate. And just one note in page -- I think it is
12      page 39, where there is the substantive discussion of the
13      conspiracy charge. We would just ask that the Court make it
14      clear that the jury doesn't have to be unanimous as to -- they
15      don't have to find unanimously that both objects were fulfilled
16      or were agreed to as part of the conspiracy. They can chose
17      either one or the other or both.
18                  THE COURT: I thought I did, but that is that not --
19                  MR. BROWN: So, Your Honor, I think the instructions
20      that you circulated last night at the top of page 39. There is
21      the sentence, "It is enough that the government proves beyond a
22      reasonable doubt that there was a common understanding among
23      those who were involved to commit" -- and we would insert the
24      words "at least one of the crimes that are the two alleged
25      objects of the conspiracy."
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1                   THE COURT: Okay.
2                   MR. BROWN: Just to make it clear that the jury could
3       choose object one, object two, or both or neither.
4                   THE COURT: Okay. I think you are correct as a
5       matter of law, so I just need to make sure the instructions are
6       correct on that. And then I do later say, you must be
7       unanimous as to at least one of the objectives that the
8       defendants conspired to accomplish. That is on page 41.
9                   MR. BROWN: Yes, Your Honor.
10                  THE COURT: Okay. That is a reasonable addition.
11      And I take it, Mr. Ekeland, that you have no objection to
12      requiring unanimity?
13                  MR. EKELAND: No objection, Your Honor.
14                  THE COURT: And anything on the other suggestion that
15      Mr. Brown made?
16                  MR. EKELAND: I think that is a correct reading of
17      the law.
18                  THE COURT: Okay. Agreed.
19                  All right. So now willful blindness, who wants to go
20      first on it, I am fine.
21                  MR. BROWN: Yes, Your Honor. We so we think, number
22      one, the instruction is appropriate. This is a pattern jury
23      instruction. And, number two, we think that the evidence that
24      was adduced at trial supports at least giving the instruction
25      to the jury. There are essentially two prongs to a willful
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1       blindness -- to the willful blindness standard. Number one is
2       the defendant must subjectively believe there is a high
3       probability that a fact exists and referring to Global-Tech
4       Appliances. And with respect to the defendant's subjective
5       belief, the proof adduced at trial includes, number one, the
6       defendant -- it is undisputed that the defendant had a Silk
7       Road account that he used to purchase psychedelic drugs.
8       Number two, the defendant's Killdozer account posted that the
9       entire Bitcoin network is "plausibly deniable money
10      laundering." The defendant's Exploit account, Meth, although
11      that may be disputed, the Meth post, you know, the defendant
12      using that moniker posted, referring to Tor hidden services
13      "Drugs are sold and unfortunately child pornography." And this
14      is not to mention, you know, to the extent that there has been
15      a preliminary showing at least, a prima facie showing that the
16      defendant is Akemashite Omedetou. The Akemashite Omedetou
17      posts are rife with references to using Bitcoin Fog to protect
18      criminal activity. So we think that there is sufficient
19      evidence in the record to justify subjective belief.
20                  And then, the second prong is deliberate actions to
21      avoid learning of that fact. And the evidence at trial that
22      came in about the design and structure of Bitcoin Fog includes
23      the fact that Bitcoin Fog deliberately deleted logs. It made
24      logs of transactions that were purged after one week. So there
25      is a deliberate action to destroy records of transactions. And
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1       also maybe a little bit of a more abstract point, the user
2       interface was designed not to collect any identifying
3       information about the transactions or the nature of those
4       transactions. So we think both prongs of the Global-Tech legal
5       standard are satisfied here.
6                   THE COURT: And so you think this is relevant to the
7       question of whether Mr. Sterlingov knew that Bitcoin Fog was
8       being used to launder the proceeds of illegal activity?
9                   MR. BROWN: Yes, Your Honor. So it is relevant to
10      the money laundering conspiracy in Count 1.
11                  THE COURT: Right.
12                  MR. BROWN: It is also relevant to the 1960(b)(1)(C)
13      prong, which is operating a money transmitting business that
14      essentially transacts in either the proceeds of crime or
15      property that -- that transacts in property that the defendant
16      knew was either the proceeds of crime or intended to promote
17      crime. So that element of knowledge comes in both in the
18      substantive offenses that were the objects of the conspiracy
19      that the defendant knew that the transactions executed by
20      Bitcoin Fog involved the proceeds of some unlawful activity.
21      That is what the statute requires, proceeds of some unlawful
22      activity. That is a knowledge standard. But as we have
23      briefed it. Even that knowledge standard incorporates and was
24      intended by Congress to incorporate a willful blindness
25      standard. The same knowledge question comes in at
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1       1960(b)(1)(C) at Count 3. And, again, we think the law on
2       willful blindness is willful blindness is an alternative way of
3       satisfying the knowledge prong. So we think it is fair to
4       instruct the jury they may find that the defendant had
5       knowledge of a fact, if they find that the defendant
6       deliberately closed his eyes to something that would otherwise
7       be obvious to them. And we think that is a --
8                   THE COURT: What about the knowledge requirement as
9       it relates to some of the registration requirements? So, for
10      example, you know, as I have drafted the instructions here to
11      convict on Count 4, the jury would have to conclude that
12      Mr. Sterlingov knowingly engaged in the business of money
13      transmission in the District of Columbia.
14                  MR. BROWN: Yes, Your Honor. So I think I was a
15      little bit confused by the question. The knowledge requirement
16      in Count 4 and the first two prongs of Count 3, the knowledge
17      really applies to the operation of the business, it doesn't
18      apply to the failure to register or failure to obtain a
19      license.
20                  THE COURT: I understand that. What I was going to
21      say though is, knowing that he was operating a business in DC,
22      or knowing even that he was operating a money laundering
23      business that had this sufficient nexus in the United States
24      for purposes of Count 3.
25                  MR. BROWN: Yes, Your Honor. And I think that
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1        also -- the willful blindness instruction would be appropriate
2        in those situations too, to the extent that there is any
3        knowledge. There is a requirement that he has knowledge with
4        respect to the geographic location of the business. I think it
5        is -- if he is -- number one, the knowledge of Silk Road. He
6        knows that Silk Road is a drug marketplace that operates
7        globally. It was operated out of the United States. It had
8        United States vendors. There is certainly a high probability
9        that among the customers of Silk Road are other darknet
10       markets, there would be customers located in the District of
11       Columbia. And there would therefore be customers of Bitcoin
12       Fog who are interested in using that to mask their transactions
13       or their drug sales on darknet markets like Silk Road. And,
14       again, you know, going back to the -- you know, the structure
15       and design of Bitcoin Fog, it was -- I mean, it was in English.
16       It wasn't in, you know, Russian or Swedish or some other -- or
17       Spanish or some other language. -- there were numerous
18       references in the Akemashite Omedetou posts comparing the idea
19       that Bitcoin Fog was based on Tor, that this was sort of an
20       imitation of or following the model, I should say, of Silk Road
21       that, you know, it is hard to find a Tor hidden service, just
22       look at Silk Road.
23                  There is a clear indication that the creation of
24       Bitcoin Fog was designed to be shielded on Tor just the same
25       way that Silk Road was. And the whole user interface was
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1        designed not to collect any sort of user identification
2        information, including where those users might reside.
3                   THE COURT: I actually think this is a really
4        interesting question. And as you know, as I read
5        Alston-Graves, the D.C. Circuit prior to the Superior Court
6        decision in Global-Tech was the one Circuit that expressed
7        skepticism about willful blindness. But the skepticism that
8        the D.C. Circuit expressed was that if the statute requires
9        knowledge, then you ought not be able to prove it with
10       something other than knowledge. If willful blindness means you
11       didn't actually know, then how can you violate the statute?
12       And, obviously, in Global-Tech the Supreme Court was aware and
13       cited to the D.C. Circuit and I think fairly can be seen to
14       have just taken a different view on that question.
15                  But the reason I bring this up it does seem to me
16       that there are two variations or ways of thinking about it, one
17       is just an instruction on what it means to know something. And
18       in the same way, you can say you might rely on circumstantial
19       evidence or all of the evidence and draw reasonable inferences
20       and, you know, we never know what is in someone else's head and
21       therefore you can rely on their actions and all of the evidence
22       to infer what is in their head. It is arguably a variation on
23       that. If there is a high probability that something is true
24       and someone is engaged in conduct that is avoiding that, it is
25       fair to infer that they actually do know it. And that they
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1        are -- their actions to avoid it are actually some evidence
2        that they know what is going on.
3                   There is the other version, which is that people
4        ought not to be able to escape liability by saying, I am a drug
5        mule, don't tell me what is in the bag. But I am picking it up
6        from the drug dealer and I am dropping it off at another drug
7        dealer, but don't tell me what is in there. And, again, maybe
8        that is another way of inference -- again, what I am
9        wondering -- two things based on all of that windup is, one,
10       whether -- one possibility might be not to give a willful
11       blindness instruction, which -- just calling it out separately
12       suggests to the jury that it is enough just to keep from
13       knowing something, but to actually just build it into the
14       definition of knowledge at some point. And to just say, that
15       one can know something -- knowledge doesn't require certainty.
16       But if there is a -- if you believe that to a high degree -- to
17       a -- if you believe that there is high probability that
18       something is the case and you don't actually believe otherwise,
19       you can infer that the person knew the facts. And I don't have
20       a strong view on that. I am just throwing that out as one
21       possibility.
22                  The other thing is I am wondering in light of
23       Global-Tech and its apparent approval of the model penal code
24       language, as well as Justice Scalia's plurality opinion in
25       United States versus Santos, which also I think cites
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1        approvingly to the model penal code in the context of money
2        laundering, if giving a version of the model penal code
3        instruction would be preferable to giving the model that you
4        have proposed which, obviously, doesn't come from the D.C.
5        Circuit since the D.C. Circuit is not terribly receptive to
6        charging in any event.
7                   So if I did the latter, it would be something along
8        the following lines: You may find the defendant had knowledge
9        of the fact, if you find a defendant deliberately closed his
10       eyes, to what otherwise would be obvious to him. In other
11       words, when knowledge of the existence of a particular fact is
12       an element of an offense, such knowledge is established if a
13       person has a subjective belief that there is high probability
14       of its existence unless he actually believes it does not exist,
15       thus although knowledge on the part of a defendant cannot be
16       established merely by demonstrating that a defendant was
17       negligent, reckless, careless or foolish, knowledge can be
18       inferred if a defendant deliberately blinded himself to the
19       existence of a fact that he had a high -- that he believed --
20       that he was aware of a high probability of its existence or
21       something like that.
22                  MR. BROWN: Yes, Your Honor. I think that does sound
23       appropriate. We are not wedded to this language. And, I mean,
24       in fairness the -- there are no D.C. Circuit substantive --
25                  THE COURT: I understand. No, the red book doesn't
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1        even have one in it.
2                   MR. BROWN: That is true. Yes.
3                   I think the model penal code approach makes sense.
4        And I think that certainly the Supreme Court's opinion in
5        Global-Tech and the other circuits that have approved these
6        sorts of instructions, the way that they phrased it is this is
7        a way to prove knowledge, as opposed to this is a certain
8        alternative scienter requirement. So I think that that
9        approach as the Court just read it --
10                  THE COURT: One of the reasons I said this is an
11       interesting question, because it is also -- it is ultimately
12       just an epistemological question of what the word belief means
13       or knowledge means. And I believe the way knowledge is defined
14       in epistemology is a justified true belief. And the question
15       for present purposes is whether it is -- you have a belief and
16       you believe things without being certain. And I am not sure
17       there is any law on the question of whether the word belief
18       means preponderance, something less than preponderance,
19       something more than preponderance. And I don't think there is
20       any law that I am aware of on that question, but we all believe
21       lots and lots of things to be true where we are far from
22       certain that they are true.
23                  I believe we'll get through closings today, but maybe
24       not. So I don't know if providing some additional help for the
25       jury in some way, maybe the model penal code is the way to do
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1        it just with respect really with what it means to know
2        something which ultimately turns on what it means to believe
3        something.
4                   MR. BROWN: Yes, Your Honor. I think that is a
5        helpful way to think about it in the way that in thinking of
6        like a willful blindness instruction, it is also relevant
7        that -- I mean, there is no such thing -- there is very rarely
8        direct proof of knowledge even for knowledge from the
9        circumstances of -- circumstantial evidence of direct knowledge
10       is very close to circumstantial evidence or direct evidence of
11       willful blindness or deliberate blinding.
12                  THE COURT: In that spirit, I guess another distinct
13       possibility to put on the table would be dropping the first
14       sentence of the willful blindness instruction. So not starting
15       with that you may find the defendant had the knowledge of a
16       fact if you find that he deliberately closed his eyes to what
17       would otherwise have been obvious to him, but instead just
18       after giving the usual knowledge instruction say, when
19       knowledge of the existence a particular fact is an element of
20       the offense, such knowledge can be established if a person is
21       aware of a high probability of its existence, unless he
22       actually believed that it does not exist, thus although
23       knowledge on the part of defendant cannot be established by
24       mere negligence and so forth. It can be inferred if a
25       defendant deliberately blinded himself to the existence of the
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1        facts where he knew -- where he believed there was a high
2        probability they were true or something like that. I am really
3        just searching for answers here. I don't have a strong view on
4        this issue.
5                   MR. BROWN: Your Honor, I don't think the government
6        has a strong view. I think any of these formulations are
7        consistent with the law.
8                   THE COURT: Okay.
9                   MR. BROWN: It does make sense, I think as the Court
10       suggests to frame this just in terms of the definition of
11       knowledge for the jury as opposed to sort of introducing this
12       as a separate concept.
13                  THE COURT: All right. Let me see what Mr. Ekeland
14       has to say on this.
15                  MR. EKELAND: I agree with the Court that this is an
16       interesting epistemological question. I think in Alston-Graves
17       the D.C. Circuit did a good job in just pointing out what is so
18       problematic about the willful blindness instruction. And that
19       is essentially that it allows for basically a scienter in a
20       criminal case based on a negligence and recklessness standard.
21       And I think why I think the defense thinks this is such a
22       problematic instruction and it should just be stricken is that
23       essentially it is changing, I think, the statutory scienter
24       requirement in that it is introducing something that -- I mean,
25       we are just sitting here trying to discuss the definition and
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1        the vagaries of it, because I think there is some ambiguity or
2        vagueness to just the epistemological concept of knowledge.
3        And it is just -- I think the jurors should be instructed on
4        the scienter requirement based on the statutory language and
5        what the law requires and not introduce some outside concept
6        that arguably modifies the scienter requirement and also
7        potentially introduces a negligence and recklessness standard.
8                   THE COURT: So two things: One is, even in
9        Alston-Graves, which is sort of the most extreme view of -- the
10       next extreme case for not giving the instruction, the Court
11       there didn't say, even in that case don't ever give it. It
12       just said give it with real caution and it has to be an
13       appropriate case. It does strike me that a money laundering
14       case in a case in which the alleged conduct involved
15       obfuscating who it was we were dealing with and was marketed on
16       that ground is -- if there is ever a case for it, it seems like
17       that is the case where it would be appropriate. So even under
18       Alston-Graves, I think it may very well be appropriate. But
19       Alston-Graves was dicta. But the Supreme Court's opinion in
20       Global-Tech comes after Alston-Graves. And arguably it is
21       dicta, although I am not sure it is dicta. I mean it was
22       certainly necessary to the holding in the case, although it was
23       a civil case rather than a criminal case. And the Supreme
24       Court expresses approval of the model penal code language and
25       actually expresses some disapproval of Alston-Graves in the
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1        context of doing that. So I think the state of the law is the
2        Court should be cautious about this.
3                   MR. EKELAND: I think this is a question for Congress
4        in terms of writing the statute. And that the danger here --
5        you know, we can see how slippery this concept is. Is that
6        actually what is happening is that the actual statute itself is
7        being modified and the scienter requirement in the statute is
8        being modified. And if Congress had wanted to put this in the
9        statute, Congress is quite capable of saying -- putting that in
10       the statutory language and it is not there. So I think the
11       Court understands my point.
12                  THE COURT: I do understand your point. But that
13       leads me back to some of the questions that I was asking
14       Mr. Brown about of then, you know, would your preference be --
15       if I conclude that it is appropriate to give the jury some
16       guidance on -- additional guidance on knowledge, particularly
17       in a context in which steps are taken to obfuscate who you are
18       dealing with, so if I cross that bridge and say, well, I think
19       I need something just beyond the usual knowledge instruction,
20       do you have a view about whether I should give a separate
21       willful blindness instruction or whether I should fold
22       something into the knowledge instruction? And if I fold
23       something into the knowledge instruction, should I just give
24       sort of the second half, using the model penal code language
25       about, you know, the person being aware of or believing that
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1        there is a high probability of the existence of a fact, that
2        the person doesn't actually believe does not exist?
3                   MR. EKELAND: Just to make it clear, I think it is
4        obvious, because we object to any of the language. But if the
5        Court is going to put something in, like, I mean, this is -- I
6        think the problem is with the concept, right, in saying you
7        intentionally don't know something, so it is bringing in the
8        sort of intentional scienter concept to a state of ignorance
9        and --
10                  THE COURT: I'm sorry. Just to -- I don't mean to
11       interrupt you. But it is not -- I see your point on that I and
12       I am sympathetic to that point.
13                  MR. EKELAND: I'm sorry.
14                  THE COURT: But I think the model penal code approach
15       that I am talking about requires that the government actually
16       prove that the person believed that there was a high
17       probability of the existence of a fact, which, you know --
18                  MR. EKELAND: But, again, that goes back to the
19       statutory language that Congress drafted. And that is not the
20       scienter requirement in the statute.
21                  THE COURT: But isn't it? Again, you know, this goes
22       back to the question of what the word knowledge means. I think
23       there is a high probability that we are going to give closing
24       arguments today. I don't have any reason to think that is not
25       the case. And as long as I am justified in that view and it
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1        turns out to be true, then I knew that fact; right?
2                   MR. EKELAND: I would disagree with that, because you
3        wouldn't know the fact until it empirically occurred.
4                   THE COURT: That is -- I mean, I know the sun is
5        going to rise tomorrow.
6                   MR. EKELAND: Well, now we are to Hume's problem of
7        induction. Right? If we are going to get into epistemology,
8        you don't know that for certain. That is an inductive argument
9        based on what -- maybe the -- I'm sorry, Your Honor.
10                  THE COURT: We are going down a path here that has no
11       relevance here to this case because the effect --
12                  MR. EKELAND: Well --
13                  THE COURT: I'm sorry. Let me finish. The events in
14       this case have occurred in the past, so the analogy may not
15       have been a perfect one. But if I thought that there was a
16       high probability that I would get stuck in traffic coming to
17       work today and I was justified in that belief, because I turned
18       on the news this morning and they said there was a traffic jam
19       because of the State of the Union Address and they were closing
20       a whole bunch of roads. And I, in fact, got stuck in traffic,
21       you would say I had knowledge; right?
22                  MR. EKELAND: Not necessarily because what I -- and I
23       guess what this is getting at and I think this is why it is so
24       slippery is there is a distinction to be made between deductive
25       knowledge, which follows by logical necessity, I see Silk Road
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1        making deposits into Bitcoin Fog, therefore I can necessarily
2        conclude that it is true that Bitcoin Fog is, you know, taking
3        money from Silk Road. Whereas opposed to the inductive
4        approach, I have seen a set of empirical circumstances occur.
5        It is not necessarily going to happen the next time. I think
6        this is why this instruction is so problematic. I am not
7        trying to get into an epistemological argument, I will just say
8        the defense objects to any willful blindness instruction by the
9        Court. And if the Court is going to, you know, put one in,
10       then I think the model penal code one based on the high
11       probability of knowledge comes closest to --
12                  THE COURT: It is not high probability of knowledge.
13       That is --
14                  MR. EKELAND: I'm sorry. I probably misspoke what --
15                  THE COURT: Yeah. It is a high probability of --
16       where someone is aware of the high probability of the existence
17       of a fact.
18                  Let me ask you -- I am not sure you finished your
19       sentence here. But the question is, okay, fine, I am giving
20       something, what is your preference? If I am giving something,
21       what is your preference if I am giving something or do you have
22       a preference?
23                  MR. EKELAND: So the model penal code one, you just
24       said and then what was the other one? A modification that --
25       taking out the first sentence to the instruction and the
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1        proposed jury charge is --
2                   THE COURT: Just including it in the definition of
3        knowledge rather than having separate willful blindness
4        instruction?
5                   MR. EKELAND: That is a tough one.
6                   I'd probably go with the model penal code.
7                   THE COURT: As a separate instruction?
8                   MR. EKELAND: As a separate instruction.
9                   THE COURT: That is fine.
10                  MR. EKELAND: Over defense's objection, just to be
11       clear.
12                  THE COURT: No. I understand the defense objects. I
13       will say, just for the record on this, I think that our
14       discussion there to my mind is evidence of why this is
15       necessary. And that just to actually inform the jury, because
16       I think you are wrong in saying that the word knowledge in a
17       criminal statute requires the type of deductive conclusion that
18       you are talking about versus inductive conclusions.
19                  And I don't think the word knowledge is included --
20       is limited to those circumstances in which you can say, you
21       know, I saw with my very own two eyes Silk Road deposit money
22       into Bitcoin Fog and withdrawing money from Bitcoin Fog. I
23       don't think that is what the word knowledge means. I think, as
24       I said, I think it is a justified, true belief. And I think to
25       the extent that we are talking about what is in the defendant's
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1        head, that simply means whether he believed it to be the case.
2        And the belief can be formed based on deduction or induction.
3                   MR. EKELAND: Not to argue epistemology with the
4        Court, that raises the question what justification and truth
5        is. And I have heard the Court and I understand. We do have
6        some other smaller things.
7                   THE COURT: Why don't you give me those? Let me see.
8        I want to make sure -- I have got the version from last night
9        in front of me.
10                  MR. EKELAND: So on the statute of limitations
11       language -- this isn't a substantive point. This is a style
12       point.
13                  THE COURT: Can you point me to the page you are
14       looking at?
15                  MR. EKELAND: Yes. Let me find it. I lost it here.
16                  THE COURT: While you are looking for that, I just
17       want to state this for the record. I will go back and tinker
18       with the language and show you the language again, I am
19       convinced that a willful blindness of some sort is appropriate
20       here. And in reaching that conclusion, I recognize that courts
21       need to be extremely cautious in giving willful blindness
22       instructions. And I am also concerned about not in any way
23       watering down the meaning of the word knowledge of in the
24       knowledge requirement in the statute. But I think on the facts
25       of this case and for the reasons that Mr. Brown gave, but also
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1        just given the entire nature of the alleged conspiracy and
2        alleged criminal conduct here, which was founded on the notion
3        of blindness and not knowing who you are dealing with. And
4        intentionally to engage in criminal activity, that if there is
5        ever a case in which it is appropriate, it is this sort of
6        case. So that is the reason that I conclude that it is
7        appropriate. I agree, frankly, with the sentiment expressed in
8        the D.C. Circuit's decision in Alston-Graves that the Court has
9        to be extremely cautious in giving this type of instruction.
10       And I also in doing so will also go out of my way to make clear
11       to the jury that this is not -- that a finding of negligence or
12       recklessness or carelessness is not sufficient.
13                  Okay. You have a page number for me?
14                  MR. EKELAND: Yes. Page 65 of the statute of
15       limitations, third paragraph down. This is not a substantive
16       point. This is a stylistic point.
17                  THE COURT: Okay.
18                  MR. EKELAND: We discussed this briefly yesterday.
19                  THE COURT: Sixty-five?
20                  MR. EKELAND: Sixty-six, my apologies. Sixty-six,
21       third full paragraph down starting, I will instruct you that
22       the government must prove beyond a reasonable doubt that
23       conduct related to Counts 1, 3 and 4, we would just -- I
24       think -- I forgot what we changed it to yesterday, but the
25       language in the original is continued up until the following
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1        dates.
2                   THE COURT: Yes.
3                   MR. EKELAND: Stylistically I think that is a little
4        confusing. It implies that the conduct was occurring. And
5        what we are suggesting is saying something to the effect of,
6        related to Counts 1, 3 and 4 occurred on or after and then,
7        those dates. And I think what I am -- I think what -- the
8        reason this language is in here is because there is a concern
9        that while the conspiracy could have started before the statute
10       of limitations and continued on afterwards. So if that is a
11       concern maybe just add a sentence saying, you know, if you find
12       that the -- you know, the conspiracy started before the statute
13       of limitations, but was still continuing into it, you know,
14       that -- you know, addressing that concern. But the language
15       just I think sounds a little bit like, A, it assumes the
16       conduct was occurring beforehand. And I think it is just a
17       little confusing. And I want to make clear it has to have
18       occurred on or after the date of the applicable statute of
19       limitations.
20                  And then, the next page, I don't -- I am a little
21       confused by this, where it says for Count 2 -- this is starting
22       on the bottom of page 66. I will instruct you that the
23       government must prove beyond a reasonable doubt that the
24       financial transaction charged in Count 2 must have occurred
25       before the following date. I think that should be after, on or
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1        after June 14th, 2016 or am I just confused about that?
2                   THE COURT: I think you may be right. Let's see
3        here.
4                   MR. EKELAND: I think that is just a typo.
5                   THE COURT: Does the government agree with that,
6        change the word before to after?
7                   MR. BROWN: Yes, Your Honor.
8                   THE COURT: That is a good catch. Thank you.
9                   MR. EKELAND: I wasn't sure if it was one of those
10       things where I wasn't sure if I didn't understand the --
11                  And is there an instruction -- maybe I missed it --
12       on just abandonment of the conspiracy?
13                  THE COURT: I don't think there is. I don't recall
14       one in there.
15                  MR. EKELAND: I don't either. I was hoping we could
16       add a boiler plate abandonment of the conspiracy, if you find
17       that even if he did join the conspiracy and he took some
18       affirmative step to, you know, whatever the law is on that, I
19       think there is standard --
20                  THE COURT: My recollection for the law on that is --
21       and this is just off the top of my head. But the law is, you
22       know, something of the nature, you have to go to authorities
23       and turn your co-conspirators in or something to that effect.
24       It is not enough to simply say, I stopped doing it.
25                  MR. EKELAND: No, it is not enough. I can't off the
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1        top of my head, you like say, for instance, the thing that pops
2        into my head is Mr. Sterlingov testified, I stopped doing
3        freelance jobs in 2013; right? I think that could be, again,
4        without having taken a deep dive into the law --
5                   THE COURT: I will take a look at it and -- to give
6        the instruction, you will have to convince me that there is
7        some evidentiary basis for it. And I think we both need to
8        look at it, but, as I said, my recollection is it requires a
9        lot more than that rather than I just stopped doing it.
10                  MR. EKELAND: But that is a fact question for the
11       jury if they were properly instructed; right?
12                  THE COURT: No. I have to conclude that there is
13       some factual basis, you know, and an iota of evidence before I
14       give an instruction.
15                  MR. EKELAND: Okay. No argument. You know, if the
16       Court takes a look at it and let us know and --
17                  THE COURT: If you want to point me to some evidence
18       of abandonment beyond just the fact that he allegedly stopped
19       doing freelance jobs.
20                  MR. EKELAND: It is the defense position that there
21       is no evidence of a conspiracy. We don't need to go down the
22       rabbit hole.
23                  THE COURT: Okay.
24                  MR. EKELAND: There is -- on page 56 -- let me make
25       sure I am looking at the right thing.
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1                   THE COURT: Just before we move off the statute of
2        limitations, does the government have any objection to the
3        change of adding occurred on or after instead of continued up
4        to at least?
5                   MR. BROWN: Your Honor, I think that would actually
6        introduce more confusion, the language here. Because the issue
7        here, as the preceding paragraph makes clear, these are -- at
8        least some of the offenses charged here are continuing
9        offenses. And so the relevant question for the jury really is,
10       whether there was a continuation of the offense past the
11       relevant statute of limitations dates. So I think at most
12       looking at the sentence here -- I would have to do some word
13       smithing, but something to the effect of began -- either
14       occurred after those dates or began before and continued
15       through, you know, up to at least the following dates. But I
16       think just in terms of way the evidence came in, there is, you
17       know, a basis -- if the jury is going to find that Counts 1, 3
18       and 4, you know -- if there is a basis for Counts 1, 3 and 4,
19       the jury is going to find that they began before the relevant
20       statute of limitations dates. So the question really is for
21       the jury whether those offenses continued, not whether they,
22       you know, occurred necessarily.
23                  MR. EKELAND: I think that language, if you say
24       began -- I think the issue we were having is with the
25       continued, because it implies like it actually did happen. I
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1        think saying that it began and then, you know, or occurred
2        after like that -- the thing I was concerned with is there is
3        an implicit assumption in the language that is in there right
4        now, that it actually did occur and continued into the relevant
5        dates.
6                   THE COURT: What if I just say that the conduct
7        related to Counts 1, 3 and 4, if any, continued up to -- so
8        just insert "if any"? I am not suggesting it did happen or
9        there was any conduct.
10                  MR. EKELAND: I'm sorry. Could you repeat the
11       language, Your Honor, just so I can --
12                  THE COURT: Yeah. Sure. I will instruct you that
13       the government must prove beyond a reasonable doubt that
14       conduct related to Counts 1, 3 and 4, if any, occurred or
15       continued up to at least the following dates.
16                  MR. EKELAND: Yeah. Okay.
17                  THE COURT: So I will do that. I will insert the "if
18       any".
19                  MR. EKELAND: Yeah.
20                  THE COURT: Okay. All right. And you were going to
21       56, I think?
22                  MR. EKELAND: Yeah. 56, it discusses FinCEN --
23                  THE COURT: Yes.
24                  MR. EKELAND: -- under the money services. Business
25       must register with the Secretary of Treasury -- I am going to
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1        drop this. I am going -- withdrawn. I am not going to argue
2        that point.
3                    And then I think that is it, unless the Court has any
4        question of the defense right now.
5                    THE COURT: No. Does the government have any
6        additional comments or evidence?
7                    MR. BROWN: Your Honor, just one very, very minor
8        comment on page 35 in the discussion of Count 2, where it says
9        at the bottom of the paragraph of Count 2, unlawful activity on
10       November 21st, 2019 --
11                   THE COURT: Yes.
12                   MR. BROWN: We would ask the Court to insert on or
13       about November 21st.
14                   THE COURT: That is fine.
15                   MR. BROWN: I think that is consistent with the way
16       the charge was phrased in the superseding indictment.
17                   THE COURT: That is my understanding as well.
18                   Okay. Fine. Anything else?
19                   MR. BROWN: Nothing further, Your Honor.
20                   THE COURT: Anything else?
21                   MR. EKELAND: Nothing further, Your Honor.
22                   THE COURT: All right. So should we go ahead and get
23       the jury?
24                   I'm sorry. Give me a second.
25                   Any comments on the verdict form?
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1                   MR. BROWN: Nothing from the government, Your Honor.
2                   THE COURT: Anything from the defense?
3                   MR. EKELAND: No, Your Honor.
4                   THE COURT: And then what do you all anticipate
5        that -- if there is a conviction on a relevant count, are you
6        anticipating having like another proceeding on forfeiture or
7        just some argument on forfeiture?
8                   MR. BROWN: So, Your Honor, we haven't set it in
9        stone. As the Court is aware, the evidentiary standards for
10       forfeiture proceeding under 32.2 are more relaxed. We can rely
11       on hearsay. So I -- and the jury can rely on evidence that was
12       introduced at trial that they are familiar with. So I think at
13       most we would anticipate, you know, essentially having one
14       witness who can testify to kind of an analysis of the relevant
15       properties that are subject to forfeiture. And then, you know,
16       I think it is sometimes done where there is essentially an
17       attorney summation. But this is not like a big closing
18       argument. It would just be maybe a little bit of witness
19       testimony. Obviously, the defense would have an opportunity to
20       present evidence. But then, you know, we would just want to
21       sort of tee that up for the jury in hopefully a more relaxed
22       form than compared to closing arguments.
23                  THE COURT: Would I instruct the jury on the law
24       before or after you do that?
25                  MR. BROWN: Your Honor --
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1                   THE COURT: Because I don't have preliminary jury
2        instructions to tell them what they are doing.
3                   MR. BROWN: Yes, Your Honor. That is a good point.
4        And we did submit --
5                   THE COURT: You submitted instructions, but just one
6        set.
7                   MR. BROWN: Yes, Your Honor. And those instructions,
8        now that I think about it, are sort of phrased in terms of the
9        standards that the jury should apply. The government
10       ultimately doesn't have a strong feeling one way or the other.
11       It might make sense to -- we can go through it. And some of
12       those instructions are really phrased more globally in terms of
13       this is what forfeiture is. This is -- it is a lower standard
14       of proof. This is the purpose of it. And those could be given
15       as more of a preliminary instruction. We could present the
16       very limited case that we want to present and then have the
17       Court instruct with respect to the specific standards that are
18       applied to those properties.
19                  THE COURT: Mr. Ekeland, do you have a view on this?
20                  MR. EKELAND: I think we are generally in accord with
21       that. I am not expecting any big proceeding. And I think it
22       might be helpful to -- without having a strong opinion on it
23       for the jury to hear it beforehand to have something to frame
24       everything that is going on.
25                  THE COURT: I have had jurors ask me before in other
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1        cases to give them more instructions up front, so that may make
2        sense here if we get to that point.
3                   All right. That is fine. And any update on whether
4        there is going to be a rebuttal case or not?
5                   MR. BROWN: Yes, Your Honor. Just a very short,
6        like, 10-minute direct examination of Ms. Mazars de Mazarin.
7                   THE COURT: Is that going to involve exhibits, do you
8        know, new exhibits?
9                   MR. BROWN: No new exhibits.
10                  THE COURT: No new exhibits. All right.
11                  I guess why don't we go ahead and get the jury and
12       continue then?
13                  Mr. Sterlingov can go back to the witness box.
14                  MR. EKELAND: Your Honor, real quick housekeeping at
15       some point maybe at the break about the stipulation we agreed
16       to yesterday.
17                  THE COURT: Okay. Great. Before we rest, you ought
18       to resolve that so it can be read to the jury.
19                  MR. EKELAND: Yes.
20                  THE COURT: If you have agreement with respect to
21       stipulation --
22                  If you are in agreement, I will -- you know, I can
23       read it to the jury whenever you think appropriate and I am
24       happy to have either side read, whoever wants to. You don't
25       need me if you are in agreement.
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                         CROSS-EXAMINATION OF MR. STERLINGOV                   34

1                     MR. EKELAND: I will read it at an appropriate point.
2                     (Jury in at 10:11 a.m.)
3                     THE COURT: Welcome back.
4                     Mr. Brown, you may continue.
5                             CROSS-EXAMINATION CONTINUED
6        BY MR. BROWN:
7        Q.    Good morning, Mr. Sterlingov.
8        A.    Good morning.
9        Q.    Now, during your direct exam, you testified that I believe
10       it was by 2019 you were exploring leaving Sweden; is that
11       correct?
12       A.    I was exploring it probably earlier, but, yeah, around
13       that time.
14       Q.    And that was for tax reasons?
15       A.    Tax reasons and I also wanted to travel more.
16       Q.    And by 2020, you had started living in other countries; is
17       that correct?
18       A.    For some parts of the year.
19       Q.    And I believe was it your testimony that you could live in
20       Sweden for no more than six months for tax purposes?
21       A.    Yes.
22       Q.    And where else were you living during that time after 2020
23       and beyond?
24       A.    That was mostly Germany and Spain.
25       Q.    Now, you testified that you started buying Bitcoin -- when
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                         CROSS-EXAMINATION OF MR. STERLINGOV                   35

1        was it that you first started buying Bitcoin?
2        A.    Around 2010.
3        Q.    And at that point, you were employed by the company CapO
4        Marknadskommunikation?
5        A.    Yes, that is correct.
6        Q.    And that was essentially your only source of funds to buy
7        the Bitcoin, was your salary?
8        A.    That and a few freelance jobs, but also only that, yeah.
9        Q.    And you have testified in a pretrial hearing on
10       January 31st, 2023; correct?
11       A.    Yes.
12       Q.    And during that hearing, when you were asked about the
13       source of your funds, you didn't mention freelance jobs or
14       selling items, did you?
15       A.    I am not sure.
16       Q.    And what was your monthly salary at CapO?
17       A.    I believe it was around 25,000 Swedish krona which is
18       around 2,500 per month.
19       Q.    And if you multiply 2,500 per month by 12 months, that
20       works out to about 30,000 US dollars per year?
21       A.    How much did you say?
22       Q.    30,000; is that correct?
23       A.    No. I think it is 2500 per month that would be more than
24       3,000 per year.
25       Q.    If it were 10 months, 2,500 times 10 would be 25,000;
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                         CROSS-EXAMINATION OF MR. STERLINGOV                   36

1        right?
2        A.    Yes.
3        Q.    And then if it were two months more, that would be another
4        5,000; correct?
5        A.    Right, so that is 30,000, not 3,000.
6        Q.    I apologize if I misspoke. It would be about $30,000 per
7        year; correct?
8        A.    Right.
9        Q.    And you testified earlier this week that you were going to
10       Bitcoin meetups during this time?
11       A.    That is correct.
12       Q.    And that you were purchasing Bitcoin at these Bitcoin
13       meetups?
14       A.    Sometimes at the meetups, sometimes I would meet people
15       outside of a meetup. But, yes, on the meetups as well.
16       Q.    You testified that some of your trades could be as high as
17       2,000 or a few thousand dollars; correct?
18       A.    That was probably rare. Some of them -- I think most of
19       them were smaller, but, yeah, I think I had had trades for a
20       few thousand.
21       Q.    And you left CapO at some point in 2014; is that correct?
22       A.    That is correct.
23       Q.    And since that point from 2014 through 2021 you had no
24       other significant sources of income?
25       A.    That is correct. That studio did not really give me a lot
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                         CROSS-EXAMINATION OF MR. STERLINGOV                   37

1        of income.
2        Q.    And you had Bitcoin that was appreciating in price;
3        correct?
4        A.    Yes.
5        Q.    But you can't buy more Bitcoin with the Bitcoin by selling
6        Bitcoin, can you?
7        A.    Yes. I can sell it and then use that money to buy
8        Bitcoin, I guess, but not -- it wouldn't be a lot more Bitcoin
9        because I had no, like, fiat -- I had no kronas coming in from
10       any paycheck or anything like that.
11       Q.    Now, you have testified about being a user of Bitcoin Fog;
12       correct?
13       A.    That is correct.
14       Q.    And you acknowledge that many of your financial accounts,
15       such as Kraken or Poloniex or other cryptocurrency accounts,
16       those received funds from Bitcoin Fog; correct?
17       A.    They received funds that I mixed through Bitcoin Fog. I
18       was using Bitcoin Fog and then I deposited funds into my
19       exchange accounts.
20       Q.    And when you were -- when you testified, when you say that
21       you were sending funds to Bitcoin Fog to mix them before
22       sending them to Kraken or another account, where do these funds
23       originate when they go to Bitcoin Fog in your testimony?
24       A.    That was the Bitcoin that I had bought and accumulated
25       buying and selling it.
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                         CROSS-EXAMINATION OF MR. STERLINGOV                   38

1        Q.    And where are the records of those transactions stored?
2        A.    Those records would be in the wallets that I had at the
3        time. They would be in my paper wallets.
4        Q.    Would those wallets be saved on a different computer?
5        A.    Different than -- I have had like six, seven computers
6        over the past 13 years. That is why you see my bunker X is
7        named X, as the Roman numeral for 10. That is like every time
8        I reinstall it, the number will increase.
9        Q.    And is bunker X different from the laptop that you were
10       carrying when you were arrested?
11       A.    Yes, that is different.
12       Q.    Where is bunker X?
13       A.    Right now, I don't know. I haven't been able to -- I
14       don't know how much I can say. Well --
15       Q.    Where did you last see bunker X?
16       A.    That was at my home in Sweden.
17       Q.    Even though you were living in Germany and other places
18       from 2020 onward?
19       A.    Right. Well, at that point it wasn't there. Rather I
20       stored it there. It wasn't online though. But the last time I
21       saw it was in my apartment.
22       Q.    Now, yesterday, you testified about private key
23       transactions or maybe it wasn't yesterday, maybe it was earlier
24       in the week you testified about transactions in which you
25       handed over your private keys to a wallet to somebody else;
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                         CROSS-EXAMINATION OF MR. STERLINGOV                   39

1        correct?
2        A.    Yes.
3        Q.    And you testified that this happened once with somebody
4        who is not very familiar with Bitcoin and you had to set up
5        their wallet for them?
6        A.    Yes.
7        Q.    And when did that transaction occur?
8        A.    That was in one of the earlier meetups.
9        Q.    If we could pull up Government Exhibit 313A, please, which
10       is already in evidence. I just want to make clear for the
11       record, this transfer here of Bitcoin out of your Mt. Gox
12       account, this is not the instance that you are thinking of when
13       you transferred private keys to someone else?
14       A.    As I have said before, when I am looking at this chart, I
15       don't remember the specific transactions or addresses. This
16       was supposedly going on, again, 13 years ago, so I don't know
17       specifically what this transaction is or isn't.
18       Q.    Now we can take this down, please.
19             You were asked during your direct examination about
20       invoices you prepared for your company, Code Reactor. Do you
21       recognize that?
22       A.    Yes.
23       Q.    And you testified earlier that you created the Code
24       Reactor invoices for tax purposes; is that correct?
25       A.    Yes. For taxing my Bitcoin that I still had for the jobs
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1        that I had been doing earlier.
2        Q.    And I wanted to clarify this testimony because I am not
3        sure if I followed it. You said that you completed these jobs
4        three or four years prior; is that correct?
5        A.    Yes.
6        Q.    And so if an invoice is dated on date X, you would have --
7        the job would have been conducted three or four years before
8        date X. Is that your testimony?
9        A.    Yeah.
10       Q.    And the Bitcoin transactions that corresponded to those
11       invoices, were those Bitcoin transactions that occurred on the
12       date listed on the invoice or was that the date that you
13       created the invoice?
14       A.    The date listed on the invoice would probably be similar
15       to the date that the invoice was created.
16       Q.    And is it your testimony these were all real freelance
17       jobs that you conducted?
18       A.    Yeah. They were real freelance jobs. But at that point,
19       I didn't have exact knowledge about specific jobs like how much
20       was each job and how much was each invoice for. So specific
21       amounts and information on the invoice, I understood they could
22       be not completely correct, because I was just putting
23       information that I could recall at the time. Because I knew
24       that I wouldn't need to send invoices anywhere, so I wasn't as
25       adamant about keeping them 100 percent correct.
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1        Q.    So there may be details on those invoices that are not
2        true; is that correct?
3        A.    Incorrect, not -- yeah.
4        Q.    I would like to direct your attention to Exhibit 719A,
5        please. And this is an example of an invoice that we looked at
6        earlier in the case; correct?
7        A.    I think so.
8        Q.    And looking at the top of -- here. The date of this
9        invoice is April 29th, 2016?
10       A.    Yes.
11       Q.    And so in your testimony this invoice would have been
12       created three or four years after April 2016; is that correct?
13       A.    No. I said that the date that invoice was created that
14       would probably be a very similar date to the date on the
15       invoice.
16       Q.    So this invoice is dated April 29th, 2016. Is it your
17       testimony that you would have created this invoice at on or
18       about April 29th, 2016?
19       A.    Yeah. Because that was -- so that would be the date where
20       I am taking this money into the Swedish financial system, like
21       Swedish bank, where the Swedish like tax office and the country
22       can actually see the money and like tax it and do all of that.
23       They can't really understand Bitcoin wallets or Bitcoin
24       payments or like money that I had in my Bitcoin wallet, I
25       didn't see any way for me just go to them and say here is
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                         CROSS-EXAMINATION OF MR. STERLINGOV                   42

1        Bitcoin.
2        Q.    So it is your testimony that the work that is referenced
3        in this invoice occurred three or four years earlier than 2016?
4        A.    Yes.
5        Q.    There is a reference here named Artem Chukanov. Is that a
6        real customer?
7        A.    Yes.
8        Q.    And you have never sent or received any emails to or from
9        Artem Chukanov in your heavydist@gmail.com,
10       Spam@plasmadivision.com or plasma@plasmadivision.com emails?
11       A.    I am not sure. I had to -- when I was registering these
12       invoices -- so I kept the -- the point with invoices was just
13       to keep track of what money I had taxed and not. And it was
14       just for my own reference. So I -- the customers that you
15       recorded there, I tried to recall them as best I could at that
16       time, which was a few years after jobs have happened.
17       Sometimes I just had to go -- I had to reference the website
18       and look it up on the DNS what name was there.
19       Q.    And there is a --
20       A.    This is what I meant when I said there is some information
21       on these invoices that might be incorrect.
22       Q.    And there is an address here. Is this an address that you
23       remembered by memory or had to look up on the internet?
24       A.    For this one, I am not sure. I don't remember.
25       Q.    And it is your testimony that Artem Chukanov did actually
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1        pay you for services referenced in this invoice?
2        A.    Yes. Well, I had a customer or client that paid me for
3        services. Yeah.
4        Q.    Was that customer or client named Artem Chukanov?
5        A.    I am not sure anymore the specific names. I had to go
6        back and try look up. If I looked up a name on the DNS and
7        that wasn't the same name as the person who was dealing with
8        me, then it wouldn't even be the same name on the invoice.
9        Q.    And there is payment information down here at the bottom
10       of the invoice, isn't there?
11       A.    Yes.
12       Q.    And there is an international bank account number;
13       correct?
14       A.    Yes.
15       Q.    And this not your bank account number, is it?
16       A.    Yeah. I think this is an account that I pulled from
17       Bitstamp where I was paying somebody from Bitstamp at an
18       earlier date. And I messed up the account, because that was
19       the account that was still listed on the Bitstamp account.
20       Q.    So I'd like to direct your attention to Exhibits 432A and
21       432C, which I believe have been previously admitted.
22             Scrolling down to the bottom of the first page of 432A,
23       there is reference here to a bank account number that ends --
24       starts SE, ends 6637. And then looking at Exhibit 432C, these
25       are records returned from the Swedish authorities pursuant to a
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                         CROSS-EXAMINATION OF MR. STERLINGOV                   44

1        multilateral mutual legal assistance treaty request providing
2        details about Swedish bank account records. At the bottom of
3        page 1 of Exhibit 432C, there is a reference to a bank account
4        number. Is this the same bank account number that we just saw
5        on the invoice that we were looking at?
6        A.    I don't remember the actual number, but it could be.
7        Q.    Well, this bank account belongs to Frederik Akerström,
8        according to this information from Sweden; correct?
9        A.    Yes.
10       Q.    And then flipping back to 719A, down at the bottom, that
11       is the same Swedish bank account ending in 6637; isn't it?
12       A.    Yes.
13       Q.    And then beneath that there is a Bitcoin address starting
14       1EUDR; isn't that true?
15       A.    Yes.
16       Q.    And it is your testimony that Artem Chukanov or maybe a
17       different customer paid you Bitcoin for approximately 660 Euros
18       three or four years earlier than this invoice; correct?
19       A.    Yes.
20             Well, I don't know the actual -- the sum.
21       Q.    But it is your testimony that this invoice corresponds to
22       a real payment by a customer for approximately 660 Euros?
23       A.    Yes. But it -- approximately, yes. But specific amounts
24       may be incorrect as well. I had not taxed this money back when
25       these jobs were happening, which I should have done. A few
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1        years after I realized that I should tax it and I just tried to
2        figure out what would be the best, correct legal way to do it
3        and this is the way I came up with. I haven't had any problems
4        with the Swedish tax office. I believe it is all taxed as it
5        should have been. But if I made some mistake there, I am happy
6        to work with them on that.
7        Q.    Just to be clear, did the customer here pay you in 2016 to
8        that Bitcoin address or did he pay you three or four years
9        earlier to that Bitcoin address?
10       A.    That was much earlier.
11       Q.    If we could flip to Exhibit 306 and I believe it is page
12       5.
13             And so this is a printout from a blockchain explorer
14       showing a Bitcoin transaction one day after this invoice is
15       dated on April 30th, 2016; correct?
16                  MR. EKELAND: Objection. Is there a question?
17                  MR. BROWN: It was a leading question.
18                  THE COURT: Overruled.
19       BY MR. BROWN:
20       Q.    Is that true, Mr. Sterlingov?
21       A.    I can see that the date on this screenshot is April 30,
22       2016.
23       Q.    And this is a transaction into that same Bitcoin address
24       that you had listed on your invoice; correct?
25                  THE COURT: I'm sorry.
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                         CROSS-EXAMINATION OF MR. STERLINGOV                   46

1                   THE COURTROOM DEPUTY: Is this supposed to be
2        published?
3                   MR. BROWN: Please publish this.
4                   THE COURT: You said Exhibit 306?
5                   MR. BROWN: Yes. It was admitted through Ms. Glave's
6        testimony.
7        BY MR. BROWN:
8        Q.    So, Mr. Sterlingov, I have circled here the recipient
9        address of this transaction on April 30th, 1EUDR. That is the
10       same Bitcoin address that was listed at the bottom of your
11       invoice, isn't it?
12       A.    It could be. The addresses are on the -- Bitcoin
13       addresses on the invoices, they were just my own wallets where
14       I already had the Bitcoin. I knew that the Swedish government
15       did not require me to make or send any invoices. I also knew
16       they didn't really understand Bitcoin. And if I had Bitcoin on
17       my Bitcoin wallets, I couldn't even show it to them. The first
18       point at which, as I understood it, the Swedish tax office
19       would, like, understand the payments and was able to tax those
20       payments was when they came into a Swedish bank.
21       Q.    Did you repay yourself the same approximate amount that
22       Artem Chukanov supposedly paid you three or four years earlier
23       on April 30th, 2016?
24       A.    I didn't repay myself or pay myself. I just transferred
25       the money that I was taxing at that time to a specific wallet
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                         CROSS-EXAMINATION OF MR. STERLINGOV                   47

1        to be able to track it.
2        Q.     And you transferred it from this 1PLBO Bitcoin address;
3        correct?
4        A.     It looks like it.
5        Q.     And the source of funds for the 1PLBO Bitcoin address was
6        Bitcoin Fog, wasn't it?
7        A.     I didn't have any funds that were sourced from Bitcoin
8        Fog.
9        Q.     Directing your attention to Exhibit 414A, which is already
10       in evidence. This is another Code Reactor invoice that you
11       prepared; correct?
12       A.     Yes.
13       Q.     And then the date of this invoice is February 12th, 2017;
14       correct?
15       A.     Yes.
16       Q.     And is it your testimony that you prepared this on or
17       about February 12th, 2017?
18       A.     It would be somewhere around that date.
19       Q.     And you prepared it for a customer that you did business
20       with three or four years earlier?
21       A.     Right. Except I didn't prepare it for the customer. I
22       was never going to send it to the customer. The customer was
23       all gone. I prepared it for my own records.
24       Q.     And the customer listed here is Anton Beckman; is that
25       correct?
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                         CROSS-EXAMINATION OF MR. STERLINGOV                   48

1        A.    That's correct.
2        Q.    And Anton Beckman has an address in Hong Kong; correct?
3        A.    That's correct.
4        Q.    Is Anton Beckman the real name of the customer for this
5        invoice?
6        A.    To the best of my recollection, yes. I think the guy from
7        Hong Kong that was a some sort of scraping project where I was
8        helping them scrape the information from some sort of trading
9        system.
10       Q.    And had you kept records of Anton Beckman in Hong Kong or
11       were you remembering this from memory when you created the
12       invoice?
13       A.    Sometimes it was from memory, sometimes it had -- if I
14       could find some records or if I could find a domain name that
15       was associated with it, I would look up the domain name.
16       Q.    Now, this was the invoice that you sent to Bitstamp; isn't
17       that correct?
18       A.    Yes. I -- I mean, I have got to say at the time I knew
19       that my invoices were not all correct. I knew that I kept them
20       for my own records. I just got really frustrated with
21       Bitstamp, but I shouldn't have sent them this.
22       Q.    Why shouldn't you have sent them?
23       A.    Because, like I said, these invoices were just for my own
24       records. And I mean, I knew that -- I didn't keep the
25       information with -- I wasn't due diligent enough with the
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                          CROSS-EXAMINATION OF MR. STERLINGOV                  49

1        information on this invoice.
2        Q.    Now, directing your attention to Exhibit 414C and message
3        29, please. Now Exhibit 414C, these are the records of your
4        account from the exchange Bitstamp; correct?
5        A.    That is correct.
6        Q.    And in message 29, the date of this message is March 3rd,
7        2018; correct?
8        A.    That is correct.
9        Q.    And this is a message from an employee of Bitstamp to you
10       asking for you to explain a transaction that occurred on
11       February 12th, 2017 originating from this Bitcoin address;
12       correct?
13       A.    Correct.
14       Q.    Can we scroll down and see how you responded.
15             You responded on March 7th, 2018; correct?
16       A.    Yes.
17       Q.    And you told Bitstamp that you found the invoice that this
18       was in response to this payment; correct?
19       A.    Yes.
20       Q.    And you sent the invoice that we were just looking at to
21       Bitstamp, didn't you?
22       A.    I think I did in a follow-up message or message before
23       that.
24       Q.    Isn't it true that Bitstamp found a mistake in the
25       invoice?
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                         CROSS-EXAMINATION OF MR. STERLINGOV                   50

1        A.    I think so.
2        Q.    And what was that mistake?
3        A.    Wasn't it a number, the invoice number or --
4        Q.    If we could scroll down to post 31. Isn't it true that
5        Bitstamp told you, "We have noticed that the BTC address
6        specified on your submitted address never received any BTC."
7        Isn't that true?
8        A.    Yeah, I think it says that.
9        Q.    And scroll down to your reply in the next post. You
10       explained that there was an error in the Bitcoin address,
11       because it was listed as starting with the number 1 instead of
12       the number 3; correct?
13       A.    Yes.
14       Q.    And if we can flip back to Exhibit 414A and just look at
15       the bottom. Wasn't this the source of the error, it was that
16       leading number was 1 when it should have been 3; correct?
17       A.    That is what the message says, yeah.
18       Q.    And then going back to Exhibit 414C, you told Bitstamp the
19       following: "This was clarified personally to my client from
20       whom I received the funds." Correct?
21       A.    Yeah, that is correct. At this point, I was -- like I was
22       explaining earlier. I was really frustrated with the Bitstamp
23       support. I kind of thought that they -- I suspected they were
24       asking all of those questions for some other reason, because
25       they just didn't have the money or something. Because I just
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                        REDIRECT EXAMINATION OF MR. STERLINGOV                 51

1        never dealt with this kind of KYC before. I had accounts in
2        other exchanges. And I had KYC questions. I had just never
3        seen anything like this. And at this point, I am just trying
4        to get my money out and just don't use Bitstamp ever again.
5        So, yeah. I might have some things that were incorrect.
6        Q.    In fact, you created this whole invoice -- the whole
7        invoice was fake, wasn't it?
8        A.    No, it wasn't fake. It represents a real job.
9        Q.    You just testified that real job occurred years before
10       2017; correct?
11       A.    Yes.
12       Q.    And Bitstamp was asking about a transaction in 2017;
13       correct?
14       A.    Yes.
15       Q.    Directing your attention to Exhibit 305 at page 9. Do you
16       recall seeing this exhibit during Ms. Glave's testimony?
17       A.    I think I do.
18       Q.    And isn't it true that there were at least eight invoices
19       that you created that were all paid out of Bitcoin Fog?
20       A.    So like I said, the Bitcoin addresses or the Bitcoin
21       wallet were just my own wallets that -- for the Bitcoin that I
22       already had, because I received it years before that.
23                    MR. BROWN: No further questions at this time.
24                    THE COURT: All right. Redirect.
25                                REDIRECT EXAMINATION
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                       REDIRECT EXAMINATION OF MR. STERLINGOV                  52

1        BY MR. EKELAND:
2        Q.    Mr. Sterlingov, did you use your Code Reactor invoices to
3        money launder?
4        A.    No. I didn't use it to money launder. I used it to tax
5        funds that I hadn't taxed that I thought that I should have
6        taxed earlier.
7        Q.    Could you just explain to the jury why you were using
8        these Code Reactor invoices to pay your Swedish taxes?
9        A.    So I tried to figure out what the best way would be or
10       like easiest way for me to tax some money that I had before
11       which was in Bitcoin, which the tax office did not understand.
12       And I didn't really consult anybody, I just started researching
13       on the internet and this was a way I found that I could tax it.
14       Q.    And at the time that you were doing these Code Reactor
15       invoices, had the Swedish government issued any clear guidance
16       on paying taxes related to Bitcoin income?
17       A.    No, they had not. I couldn't find any. That was one of
18       the problems.
19       Q.    And Mr. Brown asked you about your purchases of Bitcoin
20       after you left your job at CapO. Do you recall that?
21       A.    I think so.
22       Q.    During the period after you left CapO, did the price of
23       Bitcoin go up and down?
24       A.    Yes. It went down a lot throughout the time, mostly up
25       though if you --
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1        Q.    Were there any times where you were able to buy when the
2        price of Bitcoin was low and then later sell it when the price
3        of Bitcoin was high?
4        A.    Well, yeah, that -- was I ever able to buy it? Can you --
5        Q.    I am just wondering if there were times when during the
6        period after you left CapO, that you were able to buy Bitcoin
7        at a lower price than you later sold it at.
8        A.    Yes. Are you asking if I was able to -- I mean, the
9        answer is, yes. I was able to and I did it a few times.
10       Q.    And in terms of the source of funds that you used to
11       purchase Bitcoin, did you also use funds that you got from
12       selling items on the Swedish version of Craigslist?
13       A.    Well, yes. I guess, when I was -- I think this question
14       came up before. So the items that I sold on Swedish Craiglist,
15       I guess many of those items were bought with my paycheck. So
16       that money originally came from the paycheck. But if I bought
17       an item first and then I sold it, then it came from Craigslist.
18       I am trying to be clear.
19       Q.    And then you I think testified that none of the source of
20       your funds was from Bitcoin Fog. What did you mean by that?
21       A.    Well, I mean I never received any like fees or royalties
22       or I don't know what they call them, like the fees that the
23       mixer supposedly collects.
24                  MR. EKELAND: No further questions.
25                  THE COURT: All right. The witness can step down.
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                       REDIRECT EXAMINATION OF MR. STERLINGOV                  54

1                   I guess the question is whether Mr. Ekeland has
2        anything else.
3                   MR. EKELAND: I'm sorry.
4                   THE COURT: Do you have anything else? Do you want
5        to come to the podium?
6                   Why don't you come to the podium?
7                   MR. EKELAND: That is a good point, Your Honor.
8                   The defense rests, Your Honor.
9                   THE COURT: All right. Thank you.
10                  Mr. Brown.
11                  MR. BROWN: If we could ask -- this would be a good
12       place, if we could ask for a short recess to get our witness.
13                  THE COURT: All right. So let's see. It is a
14       quarter -- why don't we come back at 5 minutes after 11:00.
15       Even though you have now heard the government's case, the
16       defense case, still do not discuss the case even amongst
17       yourselves. And I will see you back here at 5 minutes after
18       11:00.
19                  (Jury out at 10:47 a.m.)
20                  THE COURT: All right. Anything anyone wants to
21       raise before the break?
22                  MR. BROWN: No, Your Honor.
23                  MR. EKELAND: Your Honor, at this point in time the
24       defense moves for a directed verdict on the basis that no
25       reasonable juror could find the defendant guilty on this
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1        evidence.
2                    THE COURT: For the same reasons I have previously
3        given, that motion is denied.
4                    Was there -- I forget was there something more
5        administerial that you had wanted to raise? I can't remember.
6                    MR. EKELAND: I think it was just the stipulation.
7                    THE COURT: All right.
8                    MR. BROWN: We can read that.
9                    THE COURT: Okay. So Mr. Brown can -- if you want to
10       start by reading that when the jury comes back or when do you
11       want to do that?
12                   MR. EKELAND: We can read it when they come back.
13                   MR. BROWN: We could read it in or we could have the
14       Court read it in.
15                   THE COURT: Whichever you prefer. I am happy to do
16       it or you can do it yourselves.
17                   MR. EKELAND: I think if it could come from you, if
18       we can send it to you. Is that okay?
19                   THE COURT: That is fine. Make sure if you send it
20       to me, copy Mr. Brown to make sure you are all on the same
21       page. I don't want to read something that someone frowns at as
22       I am doing it.
23                   I will see you shortly.
24                   (Recess taken at 10:49 a.m.)
25                   THE COURT: All right. Before we get the jury,
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                       REDIRECT EXAMINATION OF MR. STERLINGOV                  56

1        Mr. Ekeland, anything else on the withdrawal from the
2        conspiracy issue? I just took a quick look at it. I need to
3        defer to you on this, but the red book commentary indicates
4        that there has to be some affirmative action to defeat or
5        disavow the purpose of the conspiracy and that the defendant
6        bears the burden of proof showing withdrawal. So I don't know
7        if you have anything else to add on that or if you think that
8        is a correct statement of the law.
9                   MR. EKELAND: I think that is correct, Your Honor.
10                  THE COURT: And is there any evidence of an
11       affirmative action to defeat or disavow the purpose of the
12       conspiracy?
13                  MR. EKELAND: To the extent -- it is not even clear
14       to us what the act was joining the conspiracy, because this all
15       seems to be inchoate innuendo. But if it would be anything, I
16       think it would be just stopping doing the freelance work. I
17       mean, I had problems saying what the affirmative act is,
18       because I don't see any affirmative agreement anywhere. This
19       theory of conspiracy just seems to be based on being implicit.
20                  THE COURT: Okay. I don't think that is sufficient
21       to justify providing that instruction. So I won't provide the
22       instruction. We are reposting the jury instructions for a
23       final look before you give your closings just to make sure
24       there is not anything that I have missed or that you still
25       think needs correction in those instructions.
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1                   And should we get the jury then and proceed?
2                   MS. PELKER: Yes, Your Honor.
3                   THE COURT: And also we do need to break at 12:30
4        today, which I know may be in the midst of closings. But just
5        so -- it probably helps for you to be aware of that so you can
6        figure out how to pace things. And if you want to break a
7        little bit earlier, because it is a natural breaking point in
8        closings, you are welcome to do that too. Okay. I think we
9        are ready for the jury.
10                  (Jury in at 11:19 a.m.)
11                  THE COURT: We are now ready for the government's
12       rebuttal case. Before we hear from the government, there is
13       another stipulation from the parties that I want to read to
14       you. And I will remind you that a stipulation is an agreement
15       between the parties with respect to the evidence in a certain
16       respect. And you should take a stipulation as undisputed
17       evidence for purposes of your deliberations.
18                  And the stipulation is on April 28th, 2021, the
19       United States Department of Justice issued a press release
20       announcing Mr. Sterlingov's arrest for the alleged operation of
21       Bitcoin Fog. The press also covered Mr. Sterlingov's arrest.
22                  Okay. And you may call your witness.
23                  MS. PELKER: The governments calls CS Mazars de
24       Mazarin.
25                  THE COURT: Okay.
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                              DIRECT EXAMINATION OF MS. MAZARS                   58

1                     Valerie Mazars de Mazarin, previously sworn.
2                     THE COURT: You may proceed.
3                                    DIRECT EXAMINATION
4        BY MS. PELKER:
5        Q.    CS Mazars, do you remember your prior testimony regarding
6        Exhibit 721?
7        A.    Yes.
8        Q.    And can you remind the jury what your understanding was of
9        Exhibit 721?
10       A.    My understanding of that exhibit was that it was a
11       screenshot of some dating app messages that the case team had
12       determined were sent by the defendant.
13       Q.    Do you recall what device the image was retrieved from?
14       A.    The image itself was retrieved from the tablet.
15       Q.    If we could pull up Defendant's Exhibit 32. And can you
16       remind the jury what this was?
17       A.    This was the overview of all of the devices' images that I
18       analyzed in my forensic examination of -- for the case and some
19       high level notes about what I found on them.
20       Q.    Do you see the tablet on this list?
21       A.    Yes.
22       Q.    Can you point that out where it appears on the chart?
23       A.    The first row, 1B1.
24       Q.    And did you perform a forensic analysis of the tablet?
25       A.    No.
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1        Q.    Did you later assist in a limited triage of an extraction
2        of this tablet obtained by the IRS?
3        A.    Yes, a processed version of the extraction in Axiom, which
4        is a forensic tool.
5        Q.    To clarify, did you view the extraction from the IRS in
6        the forensic tool Axiom?
7        A.    Yes.
8        Q.    And when you view an extraction in Axiom, do you see the
9        files in the way they appear on the device?
10       A.    No.
11       Q.    Can you explain that?
12       A.    So as I think I described previously, the forensic tool
13       apart from showing the files in the tree, makes lots of little
14       categories to help the examiner view documents by type. So
15       everything it thinks is a Word document, for example, will go
16       regardless of which location or even which device, if you have
17       loaded multiple, all of those will go into a documents folder.
18       And there will also be an images folder. And, for example, in
19       that folder, so to speak, it will have all of the image files
20       that were found as is on the device as the user might have seen
21       it. But additionally it will be things Axiom thinks are image
22       files that were retrieved from zip files, like archives,
23       sometimes that were carved out of videos or PowerPoints or
24       PDFs.
25             It is not clear to me exactly which pattern matching it
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1        does to find images. But on occasion I found images that came
2        from other documents pulled out by -- depending on how the case
3        was processed and put in those folders.
4        Q.    When the government was reviewing the tablet extraction,
5        did Exhibit 721 appear to you to be part of a dating ebook?
6        A.    No.
7        Q.    You have now heard the defendant's testimony. Do you have
8        any reason to doubt that it was originally part of a dating
9        ebook?
10       A.    I have no reason to doubt that.
11       Q.    And not drafted by the defendant?
12       A.    That is correct.
13       Q.    If you had seen that it was part of an ebook, would you
14       have testified to this exhibit in that way?
15       A.    Not at all.
16                   MS. PELKER: The government moves to withdraw
17       Exhibit 721 and passes the witness.
18                   (Whereupon, Government Exhibit No. 721 was
19       withdrawn.)
20                   THE COURT: Any objection?
21                   MR. EKELAND: Yes, we object, Your Honor. It is --
22       should we go on the phone?
23                   THE COURT: No. I think if you want to leave -- the
24       government has requested it withdrawn. They offered it, but if
25       you want to offer it or leave it in evidence, that is fine.
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1                   MR. EKELAND: We want it to remain in evidence.
2                   THE COURT: Okay. That is fine.
3                   MS. PELKER: That is fine.
4                   THE COURT: Any cross?
5                                     CROSS-EXAMINATION
6        BY MR. EKELAND:
7        Q.     Ms. Mazars, is it your testimony that what is in evidence

8        as Government Exhibit 721, is just an extraction resulting from

9        Axiom?

10       A.     The way I saw it, it must have been, because I saw the
11       exhibit exactly as is. But if it came from a greater document,
12       then it must have been a file that Axiom found somewhere on the
13       device. Where exactly it found it, I am not sure.
14       Q.     And, Mr. Hassard, could we put in what has been admitted
15       in evidence as Government Exhibit 721 and publish it to the
16       jury?
17                  THE COURT: I think maybe we should relabel this as a
18       defense at this point, since the government has withdrawn it.
19       Do you want to give it a defense number?
20                  MR. EKELAND: Yes, that is fine. If I could -- if
21       Ms. Walker can let us know what the -- or Mr. Hassard.
22                  THE COURTROOM DEPUTY: The next exhibit number is
23       143.
24                  MR. EKELAND: We submit this exhibit as 143, Your
25       Honor.
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1                   THE COURT: Okay. Defense Exhibit 143.
2                   (Whereupon, Defense Exhibit No. 143 was admitted.)
3        BY MR. EKELAND:
4        Q.     Ms. Mazars, when you say you reviewed it, is this how it
5        was when you reviewed it?
6        A.     This is how I remember seeing it.
7        Q.     And when you saw it, your understanding of it was that it
8        was coming from a chat file from the defendant?
9        A.     No. I didn't think it came from a chat file. At the time
10       that I pulled it up, I noticed that it appeared to be low
11       resolution and was in some kind of image format, I think. I
12       don't remember. And so I noted that it appeared to be a
13       screenshot taken at some point, but not a native or actual chat
14       file.
15       Q.     But you didn't do anything to check or confirm that, did
16       you?
17       A.     No. Because it was on an IRS laptop. I was sitting next
18       to my team as they were reviewing it and I pointed it out. But
19       this was after I had already done my review. And I was not
20       adding it to my list of artifacts.
21       Q.     And when you testified about this previously, you didn't
22       testify that this was from an ebook, did you?
23       A.     No, I didn't.
24                  MR. EKELAND: No further questions.
25                  THE COURT: All right. Any redirect?
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1                   MS. PELKER: No, Your Honor.
2                   THE COURT: All right. The witness is excused.
3        Thank you.
4                   All right.      Ms. Pelker, anything else?

5                   MS. PELKER: No, Your Honor.
6                   THE COURT: And does the government rest then?
7                   MS. PELKER: The government rests.
8                   THE COURT: All right. Members of the jury, that
9        concludes the presentation of the evidence in this case and we
10       are now ready for closing arguments.
11                  So government can proceed first.
12                  MS. PELKER: Your Honor, can we turn this podium the
13       way it was previously?
14                  THE COURTROOM DEPUTY: You want this one? It has to
15       be this one.
16                  MS. PELKER: If the jury can take a stretch break,
17       we'll need between 1 to 2 minutes.
18                  THE COURT: While you are doing that I will also, I
19       just remind you, as you are getting ready to hear the arguments
20       from the lawyers, their arguments are for purposes of helping
21       you understand the evidence that has been admitted from their
22       perspective, but their arguments are not evidence. And the
23       evidence is what you have heard and it is your recollection of
24       the evidence rather than what the lawyers argue that controls.
25       So keep in mind that it is your recollection of the evidence
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1        that is controlling.
2                   MS. PELKER: Thank you, Mr. Brown and Mr. Pearlman.
3                   Is that okay for the court reporter?
4                   THE COURT: Yeah, that is fine.
5                   MS. PELKER: And with Ms. Walker's assistance, the
6        government does have a closing PowerPoint to display.
7                   THE COURTROOM DEPUTY: I'm sorry.
8                   MS. PELKER: The government does have a closing
9        PowerPoint to display.
10                  THE COURT: Okay. Hold on.
11                  And you may proceed.
12                  MS. PELKER: Thank you, Your Honor.
13                                  CLOSING ARGUMENT
14                  MS. PELKER: Bitcoin Fog was a staple of the darknet
15       money laundering world. And it was set up and run for a decade
16       by the defendant, Roman Sterlingov; the defendant, who designed
17       Bitcoin Fog to be the highest possible anonymity outpost in the
18       Bitcoin world, a place for serious criminals with real problems
19       with the law to hide their money.
20                  At the beginning of this case, we told you that we
21       would prove beyond a reasonable doubt that the defendant was
22       the creator, owner and operator of the darknet money laundering
23       operation that was Bitcoin Fog. And that is exactly what we
24       have shown. You have heard testimony from over a dozen
25       witnesses and seen hundreds of exhibits. You have heard step
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1        by step how the defendant registered and paid for
2        BitcoinFog.com. The defendant tried to hide his connection to
3        these payments, sending them through different steps and
4        accounts that he created just for that purpose.
5                   But the government was able to trace the money and
6        connect the activity back to the defendant. You heard about
7        how the defendant sent money into Bitcoin Fog before it was
8        ever announced, when the only person who would know about it
9        was the administrator. The defendant was user zero.
10                  After the site's launch, hundreds of darknet drug
11       dealers came to rely on Bitcoin Fog to hide their money.
12       Bitcoin Fog laundered 10s of millions of dollars for criminals
13       on the darknet. Drug dealers like Crystal Buddha and West
14       Coast RX; people seeking child sexual abuse material like Billy
15       Bob 1337, Slammer 88; hackers like Ilya Lichtenstein. They all
16       came to Bitcoin Fog because they knew that the defendant would
17       help them hide their criminal payments from the authorities.
18                  The defendant got a cut of all of the criminal
19       proceeds moving through Bitcoin Fog. You heard about the
20       hundreds of thousands of dollars pouring into the defendant's
21       financial accounts, accounts at virtual currently exchanges
22       like LocalBitcoins, Kraken, Bitstamp. And you heard that the
23       government was able to trace that money back to its source,
24       Bitcoin Fog.
25                  The government -- the defendant's only meaningful
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1        source of income, Bitcoin Fog. And what happened to Bitcoin
2        Fog as soon as the defendant was arrested? A decade long
3        criminal institution, suddenly halted operations. The
4        $70 million worth of Bitcoin sitting in the Bitcoin Fog wallet,
5        it has sat untouched since just after the defendant was
6        arrested. Why? Because the Bitcoin Fog operator, the
7        defendant, can no longer access it.
8                   For his actions, the defendant is charged with four
9        crimes: Money laundering conspiracy, sting money laundering,
10       operating an unlicensed money transmitting business, and DC
11       money transmission without a license.
12                  Over the next hour -- and we will break for lunch at
13       12:30, I am going to discuss some of the key pieces of evidence
14       and testimony that you will want to consider when you go back
15       to deliberate. I am also going to explain how those facts
16       prove each of the elements that the government must show for
17       each count that the defendant is charged with.
18                  The story of Bitcoin Fog began back in 2011. The
19       darknet drug market Silk Road had given drug dealers a platform
20       to sell meth, heroin, cocaine, fentanyl to people all across
21       the United States and the world. But the dealers had a
22       problem. It turned out that Bitcoin, the cryptocurrency behind
23       all of those darknet drug payments was highly traceable. And
24       law enforcement could follow those Bitcoin right back to the
25       dealers.
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1                   The defendant understood the need for anonymity. He
2        was an early user of Silk Road and a member of the Russian
3        cybercriminal forum exploit.in. He understood Bitcoin. He
4        studied an early mixer. And he saw an opportunity. People
5        could send him their criminal Bitcoin proceeds and he would
6        make the funds untraceable by law enforcement.
7                   First, the defendant tried to buy an existing mixer,
8        Blind Bitcoin. Blind Bitcoin had already been shut down. And
9        posts on the popular Bitcoin Talk forum warned that sort of
10       mixing could be illegal. The defendant was watching this.
11       Undeterred by the money laundering concerns that others raised,
12       the defendant reached out to the Blind Bitcoin operator, Duncan
13       Townsend, and asked to buy Blind Bitcoin. And here is where
14       the defendant made one of his first mistakes. He used his
15       personal Bitcoin Talk account, Killdozer. That account was
16       tied to Roman Sterlingov's true identity.
17                  Duncan Townsend didn't sell Blind Bitcoin to the
18       defendant or anyone else, so the defendant launched his own
19       mixer, Bitcoin Fog. He created a new username on Bitcoin Talk,
20       Akemashite Omedetou, and told everyone his site was loosely
21       based on Blind Bitcoin, but different. Roman Sterlingov tried
22       to delete his Killdozer post with Mr. Townsend, but the damage
23       had been done. Bitcoin Talk kept records of the messages and
24       law enforcement later got copies with a search warrant.
25                  Why did the defendant set up a new anonymous Bitcoin
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1        Talk account? The defendant knew he couldn't set up a site
2        like Bitcoin Fog in his own name. The defendant wanted Bitcoin
3        Fog to be a site for people who have real problems with the
4        law. He knew that if a site could be traced back to him,
5        people might go to jail. So what did he do? He created a plan
6        to set up the servers and fund the site in a way that he
7        thought would be impossible to trace back to him. He thought
8        that he could disappear into the Fog. But the defendant didn't
9        realize that years later, many of those records would end up in
10       the hands of law enforcement. And using those records, law
11       enforcement was able to pierce through the Fog and see exactly
12       who set up Bitcoin Fog, the defendant.
13                  And over the past month, you have been able to see
14       those records right here in this courtroom. In the first week
15       of this trial, Special Agent Rovensky showed you this chart and
16       walked through the records and spreadsheets step by step and
17       line by line showing how the defendant registered
18       BitcoinFog.com.
19                  You heard more testimony from Mr. Scholl, the FBI
20       blockchain expert. What did those records show? They showed
21       conclusively that it was the defendant who registered and set
22       up Bitcoin Fog. What exactly did the defendant do? First, he
23       developed a plan to move the money in a way that he thought
24       couldn't be traced back to him. And he saved his plan to a
25       Google Drive titled putting money. He posted on Exploit asking
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1        about ways to anonymously fund a Liberty Reserve account and
2        referencing Aurum Xchange.
3                   In October 2011, the defendant put his plan into
4        motion. Over the course of just over a week, the defendant
5        created a series of brand new accounts. First, he created new
6        accounts at Liberty Reserve and Mt. Gox, tied to his
7        PlasmaDivision email account. He needed a true name account to
8        receive a bank wire, the start of this chain. Then, the
9        defendant created a Liberty Reserve account for his new alter
10       ego, Akemashite Omedetou. He used his new email address,
11       Shormint@hotmail.com.
12                  And then, all during this same time period, the
13       defendant created three more brand new Mt. Gox accounts to use
14       in the scheme: NFS9000, Kolbasa and Volf.prius. All of the
15       accounts on this chart were set up and controlled by the
16       defendant. And the burner accounts, they were set up
17       specifically for this scheme, used for this scheme, and then
18       they were never used again.
19                  On October 3rd, the defendant began testing and fine
20       tuning his plan. This was the first time any of these accounts
21       were used. The very first transactions out of the defendant's
22       brand new Mt. Gox and Liberty Reserve account tied to his true
23       name and the money was sent through the defendant's burner
24       accounts, Volf.prius, NFS9000 and Kolbasa. After testing his
25       method, the defendant was ready to go for the real thing.
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1                   So on October 19th and 20th, the defendant rapidly
2        moved funds through these accounts. Again, this time
3        depositing money into the Shormint Liberty Reserve account.
4        This money in the Shormint account came from the defendant.
5        From there, the defendant was able to register and pay for
6        BitcoinFog.com on High Hosting and Bitcoin Fog was born.
7                   A few weeks later in November of 2011, the defendant
8        again sent money out of his true name accounts through his
9        burner accounts and into Bitcoin Fog. First, he sent a batch
10       through Volf.prius. Then he used the burner accounts, Kolbasa
11       and NFS9000, along with his Silk Road account. And then those
12       burner accounts are never used again.
13                  Those accounts Kolbasa, NFS9000 and Volf.prius, the
14       only transactions that ever went through them were payments
15       from the defendant's true name accounts. They were set up
16       right before receiving the first transactions and abandoned
17       right afterward. They were never used or even logged into ever
18       again.
19                  Their only purpose was to layer the defendant's
20       payments. This becomes even more apparent when you look at the
21       timing of these transactions. The defendant asked the
22       government's experts whether these could be Mr. Sterlingov's
23       sales to other people. But Mr. Scholl explained these
24       transactions are too close in time and are in a repeated
25       pattern. It was clear to Mr. Scholl that this was an
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1        indication of layering, of sending money into an account and
2        then back out just to make the tracing harder.
3                   Several things on this chart are not in real dispute.
4        The PlasmaDivision account at the top left, that is
5        Mr. Sterlingov's account. And the payment to Shormint to High
6        Hosting down in the bottom right, that is the payment for the
7        Bitcoin Fog domain registration. And on October 19th, the
8        defendant withdrew 36 Bitcoin from his Mt. Gox account. And
9        the very next day, an equivalent amount in dollars was
10       deposited into the Shormint Liberty Reserve account. In less
11       than 24 hours, the money moves through this series of accounts
12       on this chart, sometimes with just minutes between
13       transactions, all just to purchase a domain, something that
14       could have been done in a few minutes using a credit card.
15                  But the defendant knew that he would be in trouble if
16       this site were linked back to him. He knew the authorities
17       would be watching. That is why he did this. That is why he
18       came up with this plan.
19                  Bank wire to Mt. Gox, convert to Bitcoin and then to
20       dollars, then send the money through Aurum Xchange to Liberty
21       Reserve. Starting from Mt. Gox, that is the defendant's true
22       name Mt. Gox account and going to Liberty Reserve. And what is
23       the Liberty Reserve account it was going to? The Shormint
24       Liberty Reserve account, that is where the defendant is moving
25       these funds.
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1                   That isn't the only thing the defendant's true name
2        and Shormint account share. The Shormint account's recovery
3        question was the same sort of random string of letters and
4        numbers that the defendant used again and again in his true
5        name accounts. On October 27th, Bitcoin Fog was officially
6        launched. It was announced on Bitcoin Talk and on Twitter.
7        And of all of the people in the world, who was its very first
8        customer? Roman Sterlingov.
9                   But there was something not quite right about the
10       defendant's deposit. Because a normal customer can't deposit
11       funds into a service that doesn't exist yet. But the defendant
12       sent money to Bitcoin Fog before its launch was announced. The
13       only person who would have known about Bitcoin Fog at that time
14       was the person setting it up and running it, Roman Sterlingov.
15                  You heard the defendant testify that he was a Bitcoin
16       Fog user. He claimed that maybe he heard about Fog from
17       somebody at a meetup or online. But that is not consistent
18       with the defendant being the very first person to send money to
19       Fog before it was ever announced.
20                  A few weeks later, the defendant sends more money
21       into Bitcoin Fog. This time using his account at Silk Road to
22       try to conceal the path. The defendant was confident in the
23       invulnerability of Silk Road. He wrote on the cybercriminal
24       forum Exploit, "Also like Silk Road, go ahead and accept
25       payments in Bitcoin, then you will not be intimidated by even
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1        the US government."
2                    But after Silk Road was taken down by law
3        enforcement, something happened that the defendant could not
4        have foreseen. The FBI seized the site's records. And that
5        meant law enforcement could trace the defendant's payments
6        through Silk Road. He didn't use the money to buy drugs that
7        time. He sent the money in and then right back out again,
8        through the burner accounts, NFS9000, Kolbasa and then off to
9        Bitcoin Fog. And after that, all of the burner accounts are
10       abandoned, never used again.
11                   The defendant was obsessively disciplined in hiding
12       himself online. He used Tor, VPN and proxies for all of his
13       internet communications. The defendant programmed kill
14       switches into his communications to make sure he would never
15       connect over an IP that could be used to identify him all to
16       make sure that his digital trail never came back to him.
17                   But as CS Mazars testified, your IP can still be
18       significant, even if you are using Tor or proxies. She
19       reviewed the IP records used by the defendant in his true name
20       and those tied to Akemashite Omedetou. And what did she find?
21       Roman Sterlingov and Akemashite Omedetou using the same IP
22       close in time, evidence that Roman Sterlingov was Akemashite
23       Omedetou.
24                   What did the IP analysis show? First, that the
25       defendant and Akemashite Omedetou were repeatedly using some of
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1        the same IP in very close periods of time. Second, that
2        Akemashite Omedetou and the defendant were using the same
3        services at the same time, the same VPNs, proxy providers,
4        sharing common practices and op sec. And, third, the Shormint
5        Liberty Reserve account was accessed from a residential IP tied
6        to Gothenburg, Sweden. And who was living in Gothenburg at the
7        time? The defendant.
8                   CS Mazars' analysis showed repeated ties between the
9        defendant and the accounts tied to Bitcoin Fog. Take, for
10       example, the .123 address controlled by Crypto VPN. This was a
11       small obscure VPN service that was purchased through the
12       Shormint account. The defendant talks about Crypto VPN in his
13       personal notes that he was carrying when he was arrested, shown
14       at the top of this slide. Quite the coincidence.
15                  But there was more. Because what accounts were
16       accessed from that .123 IP address all around the same time?
17       The defendant's PlasmaDivision Liberty Reserve account in his
18       true name. But also the Liberty Reserve Shormint account and
19       all of the Mt. Gox burner accounts, Volf.prius, Kolbasa and
20       NFS9000. That is Peter NFS. And on October 8th, the defendant
21       used a different IP ending in .148 to access his Liberty
22       Reserve PlasmaDivision account and the Mt. Gox Volf.prius
23       account. Two different shared IPs on two different occasions.
24                  The IP overlap cemented the links between all of the
25       burner accounts and the Shormint account. Repeatedly, the
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1        accounts are accessed from the same IPs.
2                   The defense suggested that more than one person could
3        have been using these IPs at the same time. But CS Mazars
4        explained the significance of these IPs and the timing to you.
5        It was like investigating a bank robbery and seeing a distinct
6        2012 white Nissan Altima leaving the scene. Then, seeing the
7        same car in front of your suspect's house and at different
8        spots related to the crime. Multiple people in the world can
9        be driving a 2012 white Nissan Altima. But if you see the car
10       in all of the locations you are investigating at exactly the
11       right times, that is not a coincidence.
12                  What did the defendant set up Bitcoin Fog to do?
13       Bitcoin Fog was designed to launder money. It took customer
14       deposits, mixed them up with other customers' funds and allowed
15       users to withdraw Bitcoin that couldn't be traced back to them
16       or the crimes.
17                  You heard testimony about the technical details that
18       made all of this possible. The defendant went to great lengths
19       to make sure Bitcoin Fog's mixing was effective. He made sure
20       that any authorities wouldn't be able to follow the funds.
21       That path would be lost in the Fog. So who was using Bitcoin
22       Fog? Criminals. In the defendant's own words, people with
23       real problems with the law, people who would go to jail if the
24       server were found, people who wanted to avoid the authorities.
25       That is the user base the defendant wanted. That is what he
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1        designed Bitcoin Fog for. And that is what he got.
2                   Bitcoin Fog facilitated massive amounts of money
3        moving to and from darknet markets, 10s of millions of dollars,
4        from markets like Silk Road, Silk Road 2, Alpha Bay, Agora, the
5        list goes on. Hundreds of drug dealers were relying on Bitcoin
6        Fog to help them stay hidden from the authorities, drug dealers
7        like Symbiosis who sent over $1.5 million through Bitcoin Fog
8        tied to his thousands of sales of cocaine. Drug dealers like
9        Trevor Philips Enterprises who used Fog to launder over
10       $150,000 from his sale of cocaine and MDMA shipped from the
11       United States. Trevor Philips Enterprises even included a
12       warning to customers that his drugs were so potent they could
13       kill you. Drug dealers like peels4u and West Coast RX who sold
14       fentanyl and other drugs, again both from the United States.
15       Silk Road gave them a worldwide customer base and Bitcoin Fog
16       ensured they could stay hidden.
17                  Mr. Scholl and Special Agent Santell walked you
18       through a sampling of darknet vendors who laundered their funds
19       through Bitcoin Fog. But there were hundreds more like them.
20       For years, they have been able to stay hidden in the Fog,
21       thanks to the defendant.
22                  And it wasn't just drug dealers. Those darknet
23       markets pedaled stolen identification documents, stolen
24       financial information, hacking tools; and also on the darknet,
25       child sexual abuse material. In a post on Exploit, the
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1        defendant wrote, "Stop struggling and get a Tor hidden service.
2        For years drugs are sold and unfortunately child pornography
3        distributed through it."
4                   The defendant said it was unfortunate that Tor hidden
5        services were used to distribute child pornography.
6        Unfortunate, but he certainly knew about it. He then set up
7        Bitcoin Fog to help those very people, people like Billy Bob
8        1337 and Slammer 88 who used Bitcoin Fog to buy access to child
9        sexual abuse material on sites like Welcome to Video. And when
10       Welcome to Video was taken down and law enforcement was working
11       to identify its users, those who used Bitcoin Fog were able to
12       disappear back into the Fog, just like the defendant intended.
13                  Mr. Scholl testified that money continued to flow
14       into Bitcoin Fog even after the sites were taken down. And
15       Bitcoin Fog continued laundering money right through
16       April 2021. The defendant was disciplined in not keeping his
17       Bitcoin Fog notes and records on his devices, at least not in a
18       place or way that FBI and IRS could access. But his retrieved
19       notes and unencrypted files still revealed quite a bit about
20       what the defendant was doing and thinking.
21                  And, repeatedly, the defendant researched and talked
22       about concerns with people de-anonymizing Tor hidden services.
23       He wrote about address sniffing. That is efforts by the
24       authorities to identify a Tor hidden services's true location.
25       That is what that is. He wrote about setting up his own set of
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1        Tor nodes in his control. On Exploit, he wrote about Tor
2        hidden service configurations. He planned a setup to mask
3        hidden service traffic going to a server. CS Mazars explained
4        these various notes. They were technical and complicated, the
5        product of a sophisticated computer user. But she explained
6        the bottom line. These weren't just the concerns of a VPN or
7        Tor user seeking privacy. These were things that a Tor hidden
8        services administrator would be concerned with. The concern
9        was centered on authorities locating a hidden services server.
10       Because the defendant did not want the authorities to find
11       Bitcoin Fog.
12                  You heard the defendant's argument in opening, no
13       logs, no servers. Unfortunately, the defendant's efforts to
14       hide his tracks were successful, in at least some ways. The
15       government never got a copy of the Bitcoin Fog server, at least
16       not in a way they could access or read. Why? Because the
17       defendant hid it. His work paid off. Shortly after launching
18       Bitcoin Fog, the defendant posted to Exploit and told his
19       fellow criminals, stop struggling and get a Tor hidden
20       services. He wrote, "If you configure such a server correctly
21       then no matter how hard one tries no one will fucking find
22       where it is."
23                  The defense has suggested the defendant couldn't have
24       run Bitcoin Fog because it wasn't saved to a laptop he was
25       traveling with. That is not how a website or server operates.
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1        You saw evidence that the defendant had access to multiple
2        servers and devices over time, ample locations from which to
3        operate Bitcoin Fog.
4                   Bitcoin Fog was designed to hide itself and the
5        person running it, the defendant. And the evidence has shown
6        that the defendant had the ability, the skills and the
7        infrastructure to run Bitcoin Fog and keep it hidden. The
8        defendant's devices were teeming with examples of his
9        connections to other computers. There were numerous virtual
10       machines, VMs. He had set up remote desktop software and
11       configured remote connections. His notes said that he was
12       keeping additional cryptocurrency wallets in VMs, wallets the
13       government has not found.
14                  He was repeatedly connecting back to bunker, a
15       computer in Sweden. And now, he doesn't know where. For a
16       while, the defendant backed up his data including a bunker at
17       SpiderOak. But then posts emerged online suggesting that
18       SpiderOak had complied with an order from law enforcement. So
19       what did the defendant do? He decided that SpiderOak had been
20       burned. He wrote in his notes, move everything off SpiderOak,
21       delete it from his computers. It was burned. All because
22       people were saying it complied with a court order.
23                  The government was never able to get copies of the
24       defendant's servers at SpiderOak or servers at RamNode or the
25       other remote serves the defendant set up. That was the point,
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1        to hide the infrastructure and make it largely unreachable by
2        law enforcement. The defendant's concerns with being caught by
3        law enforcement, continued. Elsewhere in his notes, he flagged
4        VPN services that had been burned. That is, complied with a
5        court order. Because any service that would cooperate with law
6        enforcement when given a court order was a threat to the
7        defendant's anonymity. He needed to stay hidden in the Fog.
8                   Then there are the defendant's servers at M247 in
9        Romania, supposedly for his business, Moon VPN. The defendant
10       rented server space at M247, configured from multiple IP
11       addresses. He set up a business account at Kraken and the name
12       To the Moon received payments from his Moon VPN customers. But
13       Moon VPN wasn't a functioning business. When Special Agent
14       Price tried to set up an account on Moon VPN, the VPN service
15       never actually worked and the money going into the Moon VPN
16       Kraken account, it came from Bitcoin Fog.
17                  In late 2015, around the same time Bitcoin Fog was
18       having technical issues, the defendant shipped a package to
19       M247. And soon after that, Akemashite Omedetou told everyone
20       that Fog's hardware issues had been resolved.
21                  The Romanian government found the defendant's servers
22       and seized them. And when CS Mazars analyzed them, she found
23       three drives. One, the records from Moon VPN. The defendant's
24       business that by his own admission was never really
25       operational. On a second drive, Bitcoin Core, a Bitcoin wallet
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1        client. And the third disk, wiped clean. Nothing on it,
2        completely zeroed out.
3                   Mr. Scholl testified about the Bitcoin Fog addresses,
4        how he studied them closely, learned their patterns. And he
5        testified about the many, many transactions that moved through
6        Bitcoin Fog between 2011 and April 2021. Too many to be manual
7        transactions that were automated, but those automated
8        transactions ground to a halt right after the defendant was
9        arrested. Bitcoin Fog, a service that had been operating for
10       nearly a decade, abruptly stopped sending anymore transactions.
11                  Right now there is $70 million worth of Bitcoin just
12       sitting in Bitcoin Fog's wallet and it hasn't moved since
13       April 2021. $70 million, just sitting there. Why hasn't it
14       moved? Why wouldn't someone collect the money? Because the
15       defendant was arrested.
16                  Bitcoin Fog was laundering 10s of millions of dollars
17       every year. And the defendant was getting a cut of every
18       single transaction that moved through the site. 2012, that was
19       around $85,000 a year. By 2014, it surged to 1.8 million and
20       then settled into the mid to high six figures. In total, the
21       defendant would have earned about $8 million from 2011 through
22       2021.
23                  Now, defense suggested that the Bitcoin Fog operator
24       should have much more than that, upwards of 100 million or even
25       a billion dollars. That in addition to running Bitcoin Fog,
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1        Akemashite Omedetou was the world's shrewdest Bitcoin investor,
2        never spending a cent until cash out at the very highest point
3        of a notoriously volatile market. But Professor Verret
4        conceded that even he didn't actually believe that this was
5        likely. That is not consistent with the actual evidence that
6        you saw or your common sense.
7                   What did you see? You heard testimony from forensic
8        accountant Sarah Glave about the defendant's financial
9        accounts. Specifically, the subset of his accounts that were
10       tied to his true name and for which the government could get
11       records. These are not all of the defendant's assets. He had
12       many, many more, such as the gold he kept hidden at his
13       mother's house, his Mycelium wallet on his phone and numerous
14       other accounts, known and unknown, that the government could
15       not access.
16                  You heard that in 2013 alone, the defendant deposited
17       at least $260,000 worth of Bitcoin into his accounts in a
18       single year. This was while he was working at his day job in
19       Sweden with a salary of around $30,000 per year. In over just
20       three years, he spent $90,000 on prepaid cards. Just prepaid
21       cards alone. You saw the defendant not only deposited huge
22       sums of Bitcoin into his accounts, but also sold or transferred
23       out significant sums. Especially in the early years, 2011,
24       2012, 2013, when the price of Bitcoin was rapidly rising, he
25       sold or sent out almost as much Bitcoin as he was depositing
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1        into his accounts. You heard the defendant's testimony and
2        explanation, but use your common sense, and remember testimony
3        of forensic accountant Sarah Glave and Luke Scholl, this was
4        not activity of someone who was holding onto their Bitcoin as a
5        longterm investment.
6                   Ms. Glave walked you through her review and
7        calculations. And what did she find? The defendant's
8        expenditures, his spending exceeded the money coming into his
9        bank accounts through explainable sources. What does that
10       mean? As Ms. Glave testified, that is a sign of unexplained
11       sources of income. What was the defendant's true income?
12       Bitcoin Fog.
13                  When the defendant was arrested, he had half a
14       million dollars of cryptocurrency stored on his phone and
15       another $800,000 worth in his Kraken account. He had just
16       recently purchased a 150,000 Tesla with Bitcoin. Separate from
17       that Tesla purchase, he had transferred another $280,000 worth
18       of Bitcoin into his wallet into a single transaction. Over a
19       quarter of a million dollars, just to use as casual, walking
20       around money on his phone. He stored it in a wallet called
21       straight outta mint. What was that mint that the funds had
22       come straight outta? Bitcoin Fog. Because with the defendant,
23       everything comes back to Bitcoin Fog.
24                  Where did the majority of Roman Sterlingov's money
25       come from? Bitcoin Fog. His LocalBitcoins account, Bitcoin
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1        Fog. His Kraken accounts, Bitcoin Fog. Mt. Gox, Bitcoin Fog.
2        Poloniex all from Bitcoin Fog. Binance, Bitfinex, Bitstamp;
3        Bitcoin Fog, Bitcoin Fog, Bitcoin Fog. Even the defendant's To
4        the Moon business account, the account that was supposed to be
5        receiving money from To the Moon clients, the money coming into
6        that account came from Bitcoin Fog. Hundreds of thousands of
7        dollars pouring into accounts spread across numerous financial
8        institutions and exchanges. And the government was able to
9        trace these funds back to Bitcoin Fog.
10                  You heard testimony about the invoices for the
11       defendant's Code Reactor business -- well, what were intended
12       to look like invoices, invoices to different customers, at
13       different times, spread across the globe. But as you saw,
14       there was something very strange about these invoices. When
15       the government experts looked at where the money was coming
16       from, what did they find? Customer payments for totally
17       different customers were coming from the same Bitcoin address.
18       And the funds had originated from Bitcoin Fog. The defendant
19       tried to come up with an excuse for these invoices when he
20       testified. They were for old customers or maybe not. He
21       wanted to have them for his tax reporting, but he wasn't
22       planning to give them to anyone. And the defendant could not
23       explain why he had gone to such great lengths to develop these
24       false invoices if he was trying to report his old freelance
25       earnings. That is just not credible. It more consistent with
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1        the defendant misrepresenting his invoices to hide the funds
2        originating from Bitcoin Fog.
3                   Remember what happened when Bitstamp asked the
4        defendant about his use of mixers? The defendant was full of
5        excuses. This was just a question about whether he was using
6        tumblers or mixers or he was angry, frustrated. He said, he
7        couldn't remember if he did, he couldn't remember if he did, if
8        he did it was a long time ago. But the evidence showed that
9        the defendant was actively receiving funds from Bitcoin Fog as
10       he was sending these messages.
11                  Later, when Bitstamp again questioned the defendant
12       about the source of his funds he tried to use one of his fake
13       invoices. But the address on the invoice, it wasn't even a
14       valid Bitcoin address. Bitstamp caught on and kept asking
15       questions. You heard the defendant testify about why he was so
16       frustrated with Bitstamp here. He said that it seemed like
17       there was something else going on. Well, something else was
18       going on. Bitstamp had flagged the defendant's transactions as
19       suspicious. That is why the defendant was so annoyed. He knew
20       that Bitstamp was on to him.
21                  And what happens after Bitstamp's inquiry?
22       Mr. Sterlingov abandoned the money. He just leaves it sitting
23       there in the account and never logs in again. And he writes a
24       note to himself, "Withdrawn everything when they started
25       delaying withdrawals and started and asking for ten stupid
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1        questions. Do not use them. Tell everyone to stop using
2        them." The defendant could afford to just abandon money at
3        Bitstamp, because he had plenty more coming in, his earnings
4        from Bitcoin Fog.
5                   Members of the jury, the defense has no obligation to
6        put on a case, none. They can sit here and put us to our
7        burden of proof. But when they do put on a case, you have the
8        right to examine it and ask yourself, does it make sense? The
9        defendant took the stand and walked you through each year of
10       his life since high school. But when he was cross-examined by
11       Mr. Brown, his answer to almost every question was, I don't
12       remember. I don't know. It was a long time ago. When asked
13       whether he registered the Bitcoin Fog domain, he said, I don't
14       remember doing it. Members of the jury, you can use your own
15       common sense to evaluate that.
16                  Your Honor, we have maybe 20 minutes, but I know we
17       have a hard stop at 12:20.
18                  THE COURT: 12:30. It is entirely up to you.
19                  MS. PELKER: We can break now. I do think we'll go
20       just past 12:30 and I know there was a hard stop.
21                  THE COURT: Let me just check. One second.
22                  (Pause.)
23                  THE COURT: All right. So let's go ahead and break
24       now. I will stand up, members of the jury, so I can see you.
25       We are getting far along, obviously, in the case now. You have
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1        heard all of the evidence. You have heard a portion of one of
2        the closing arguments. Still do not discuss the case even
3        among yourselves. No research. It is 12:15. Why don't we
4        come back at 1:30? Have a nice lunch and I will see you at
5        1:30.
6                   (Jury out at 12:16 p.m.)
7                   THE COURTROOM DEPUTY: You may be seated.
8                   THE COURT: All right. Anything before we break?
9                   MS. PELKER: Not from the government, Your Honor.
10                  MR. EKELAND: Nothing from defense, Your Honor.
11                  THE COURT: All right. I will see you all shortly.
12       All right. Thank you.
13                  (Recess taken at 12:17 p.m.)
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1                                C E R T I F I C A T E
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3                   I, SHERRY LINDSAY, Official Court Reporter, certify
4        that the foregoing constitutes a true and correct transcript of
5        the record of proceedings in the above-entitled matter.
6

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10                                   Dated this 8th day of March, 2024.
11

12                                   ________________________
                                     Sherry Lindsay, RPR
13                                   Official Court Reporter
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